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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION


FAIR FIGHT INC., SCOTT BERSON,
JOCELYN HEREDIA, and JANE DOE,
                                                        CIVIL ACTION FILE
     Plaintiffs,
                                                       No. 2:20-CV-00302-SCJ
v.

TRUE THE VOTE, CATHERINE
ENGELBRECHT,
DEREK SOMERVILLE, MARK DAVIS,
MARK WILLIAMS, RON JOHNSON,
JAMES COOPER, and JOHN DOES
1-10,

Defendants,




                                           ORDER

        This matter appears before the Court on the Parties’ Cross Motions for

Summary Judgment. 1 Doc. Nos. [155-1] (Defendants’ Motion for Summary

Judgment); [156-1] (Plaintiffs’ Motion for Summary Judgment). For the foregoing




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
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reasons, the Court GRANTS IN PART Plaintiffs’ motion. Plaintiffs are entitled

to summary judgment on Defendants’ affirmative defenses of vote dilution and

unconstitutional vagueness. The Court DENIES Plaintiffs’ motion on the

remaining issues, namely Plaintiffs’ Section 11(b) claim and Defendants’

First Amendment defenses. The Court further GRANTS IN PART Defendants’

motion as it relates to arguments of Muscogee County voter intimidation based

on Defendants’ Section 230 challenges, but otherwise DENIES Defendants’

motion.

I.      BACKGROUND

        The Court begins by addressing the relevant background of this case. The

Court first will outline some preliminary facts and the Parties at issue, and then

give a summary of each Party’s factual account of this case. The Court

subsequently will give a brief account of the case’s procedural history.

        A.    Preliminary Factual Overview

        This case involves a claim brought under the Voting Rights Act (VRA),

specifically Section 11(b) which, generally speaking, makes liable any person

who intimidates, coerces, or threatens another person’s right to vote. 52 U.S.C.

§ 10307(b). As specified in greater detail below, Plaintiffs contend that


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Defendants violated Section 11(b) by amassing a large number of challenges to

registered voters’ eligibility under Georgia law, O.C.G.A. § 21-2-230 (hereinafter,

“Section 230 challenges” or “voter challenges”), and engaging in other

intimidating conduct toward voters in the weeks leading up to the Senate run-off

elections in 2021. 2

       Plaintiffs consist of the organization Fair Fight, and individuals Jane Doe,

Scott Berson, and Jocelyn Heredia. The individual Plaintiffs are Georgia voters

who had their voter eligibility challenged by Defendants despite being properly

registered to vote in their respective counties.

       Defendants are the organization True the Vote, and individuals Catherine

Engelbrecht, Derek Somerville, Mark Davis, Mark Williams, Ron Johnson, James

Cooper, and John Does 1–10. Individual Defendant Catherine Engelbrecht

founded and is the executive director of True the Vote. Individual Defendants




2 At the time Defendants mounted these voter challenges, O.C.G.A. § 21-2-230(a) (2019)
provided that “[a]ny elector of the county or municipality may challenge the right of
any other elector of the county or municipality, whose name appears on the list of
electors, to vote in an election.” After a challenge had been filed, the board of registrars
was required to “immediately consider such challenge and determine whether probable
cause exists to sustain such challenge.” Id. § 21-2-230(b). The statute furthermore affords
a challenged voter opportunity to prove his or her voting eligibility, even in the face of
a probable cause finding by the board of registrars. See, e.g., id. § 21-2-230(b), (c), (e).
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Mark Williams, Ron Johnson, and James Cooper worked with True the Vote to

coordinate the voter challenges. Defendants Somerville and Davis also made a

list of voters to challenge across Georgia, with a similar motivation as True the

Vote (i.e., to ensure only eligible voters were voting in the run-off election). 3

         B.     Plaintiffs’ Account of the Factual Background

         Plaintiffs contend that Defendant True the Vote’s mass Section 230

challenges of properly registered voters throughout Georgia 4 constituted an

attempt to intimidate 5 these voters from voting in the 2021 Georgia Senate run-off



3The connection between Defendant True the Vote’s and Defendants Somerville’s and
Davis’s voter challenge efforts is disputed. See, e.g., Doc. No. [173-1] (Defendants’
Response to Plaintiffs’ Corrected Statement of Material Facts), 28–30, ¶¶ 39–40. The
Parties, nevertheless, do not always clearly distinguish between Defendant True the
Vote’s efforts and Defendants Davis’s and Somerville’s efforts.
       The Court also has a growing concern about a potential conflict of interest
between Defendant True the Vote and Defendants Davis and Somerville. All
Defendants are currently represented by the same counsel, but it unclear if the
Defendants’ interests in their respective defenses continue to be aligned. See, e.g., Doc.
No. [210] (Feb. 1 Hearing Tr.) Tr. 55:13–16 (Defense counsel defending True the Vote by
arguing that True the Vote did not make voter challenges themselves, but that
challenges were “made by someone else, such as Mark Davis and Mr. Somerville who were
doing their own thing, completely independent.” (emphasis added)).
4 While Plaintiffs allege that True the Vote’s efforts to intimidate voters occurred
nationwide (Doc. No. [156-1], 6–7), this case solely involves the Georgia elections and
voters and thus the Court will only consider the acts and evidence pertaining to
Defendants’ activities in Georgia.
5   Section 11(b) prohibits acts of intimidation, threats, and coercion. To remain succinct,

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election. Doc. No. [156-1], 6. Specifically, Plaintiffs argue that Defendants

submitted a mass number of voter challenges under Georgia law, O.C.G.A.

§ 21-2-230, two-weeks before the election that were knowingly frivolous and

intimidating to voters. Id. at 15–22. Plaintiffs submit an expert report detailing

how Defendants’ challenges failed to account for deficiencies in the data sets and

ultimately led to an over-inclusive, discriminatory, and unreliable list of voters

to challenge. Id. at 17–21. Plaintiffs further contend that Defendants based these

challenges on unreliable data from the U.S. Postal Service’s National Change of

Address (NCOA) database. Id. at 16–17. Plaintiffs submit evidence that insiders

to Defendants’ voter challenge efforts criticized Defendants’ methods and

challenger lists. Id. at 21–22. One of Defendants’ recruited challengers even

retracted his challenges when he discovered errors in the lists provided. Id.

       According to Plaintiffs, the public nature of the challenges, along with the

other actions that led to and combined with the challenges, show that

Defendants’ actions intimidated voters. Doc. No. [174], 9. Plaintiffs argue that




the Court may refer to Section 11(b)’s prohibitions as only “intimidation” (or “coercion,”
or “threats”) with the understanding that when one prohibited act is referenced, the
Court is implicating Section 11(b) broadly.
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Defendants harassed voters by offering a “bounty” for reports of voter fraud and

recruiting Navy SEALS to accost voters and poll workers. Doc. No. [156-1], 24–26.

Defendants Somerville and Davis furthermore engaged with the public on social

media, including responding to one post about obtaining a search warrant

against a voter and being tied to a thread that made a violent comment toward

ineligible voters, to which Davis and Somerville did not respond. Doc.

No. [156-1], 33. Plaintiffs also connect Defendants to efforts by a Twitter account

“Crusade for Freedom” to publish the names of challenged voters on the internet,

an act specifically decried in conversations between Defendants Somerville and

Davis as going too far. Id. at 34–36.

      Thus, in Plaintiffs’ view, Defendants violated Section 11(b) by intimidating

voters through making frivolous and discriminatory voter challenges under

Section 230, initiating a bounty for voter challengers, recruiting Navy SEALS to

intimidatingly oversee polling places, and publishing challenged voters’ names.

      C.     Defendants’ Account of the Factual Background

      Defendants denounce that they attempted to intimidate voters. They claim

instead that their actions leading up to the 2021 run-off election were for the

“clear and lawful” purpose to “alert the proper government officials” that not all


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voters may be eligible to vote. Doc. No. [155-1], 8. Defendants argue that the data

they used to formulate the voter challenge lists was “carefully analyzed” (Doc.

No. [173], 4) and that the “proprietary process” used protected against large-scale

erroneous challenges (Id. at 23–27). Defendants maintain that they were careful

in their calculations and that any unintended errors in their data sets were

reasonable. Id. at 27–28.

      Defendants furthermore contend that they never contacted any voter

directly and that any challenge made was in accordance with Georgia law. Id. at

4. Defendants expressly disclaim that there was any bounty offered for reporting

fraudulent voters, but instead that the money available was a “legal defense

fund” put into place to assist whistleblowers with any legal issues arising as a

result of being part of the voter challenges. Id. at 18–19. Defendants also maintain

that they did not recruit veterans to “patrol” polling places (Id. at 20–21), or

encourage any “election-related vigilantism on social media” (Id.).

      In sum, in Defendants’ view, they were making lawful challenges under

Georgia law to potentially ineligible voters, who had been identified through a

careful vetting process. Defendants offered financial resources for its voter

challengers who faced legal complications from making challenges and


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attempted to increase order at polling places by recruiting veteran volunteers.

Defendants moreover deny that they were part of any efforts to publish challenge

voters’ names or encourage violence toward challenged voters.

        D.     Procedural Background

        Plaintiffs filed their complaint, alleging Defendants’ actions violated

Section 11(b) of the Voting Rights Act, on December 23, 2020. Doc. No. [1]. They

then filed a motion for a temporary restraining order on December 29, 2020. Doc.

No. [11]. The Court denied the TRO request, concluding that Plaintiffs had not

shown a likelihood of success on the merits of their claim, but also acknowledged

that it was “deeply concerned” about the legality of Defendants’ voter challenges

and that “Plaintiffs may yet prove their Section 11(b) claim.” Doc. No. [29], 21–28.

        After the close of discovery, on May 16, 2022, both Parties filed their

motions for summary judgment. Doc. Nos. [155-1]; [156-1]. Plaintiffs also filed a

motion in limine to exclude improper expert testimony offered by OpSec’s Gregg

Phillips 6 and Defendants Davis and Somerville. Doc. No. [172]. The Court has




6   True the Vote worked with OpSec to create the lists of challenged voters in Georgia.
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granted this motion in limine in a previous order and will address the summary

judgment evidence in the light of this exclusion. Doc. No. [221].

       The Court ordered a hearing on the cross-motions for summary judgment

and directed the Parties to file supplemental briefing responding to several

questions. Doc. Nos. [184]; [186]. The Court also issued a certification order

notifying the United States Government of the constitutional challenges to

Section 11(b). Doc. No. [182]. The Government noticed its intent to intervene.

Doc. No. [187]. Thereafter, the Parties, the Government, and an amicus curiae in

support of Plaintiffs’ position filed supplemental briefing. 7 Doc. Nos. [191]; [192];

[193]; [194]. The Court held a hearing on the cross-motions for summary

judgment on February 1, 2023. Having considered the arguments made, the

Court now turns to the merits of the Parties’ motions.

II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 56(a) provides “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed.




7 The Court granted the amici’s request to file a brief and gave each Party an
opportunity to respond. Doc. Nos. [207]; [208]; [216]; [218].
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R. Civ. P. 56(a). A factual dispute is genuine if the evidence would allow a

reasonable jury to find for the nonmoving party. Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). A fact is “material” if it is “a legal element of the claim

under the applicable substantive law which might affect the outcome of the case.”

Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997).

      The moving party bears the initial burden of showing, by reference to

materials in the record, that there is no genuine dispute as to any material fact

that should be decided at trial. Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). The

moving party’s burden can be discharged either by showing an absence of

evidence to support an essential element of the nonmoving party’s case or by

showing the nonmoving party will be unable to prove their case at trial. Celotex,

477 U.S. at 325; Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993). In

determining whether the moving party has met this burden, the court must

consider the facts in the light most favorable to the nonmoving party. See

Robinson v. Arrugueta, 415 F.3d 1252, 1257 (11th Cir. 2005).

      Once the moving party has adequately supported its motion, the

non-movant then has the burden of showing that summary judgment is improper


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by coming forward with specific facts showing a genuine dispute. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). There is no

“genuine [dispute] for trial” when the record as a whole could not lead a rational

trier of fact to find for the nonmoving party. Id.; see also Nebula Glass Int’l, Inc.

v. Reichhold, Inc., 454 F.3d 1203, 1210 (11th Cir. 2006) (the nonmoving party

cannot survive summary judgment by pointing to “a mere scintilla of evidence”).

All reasonable doubts, however, are resolved in the favor of the nonmoving

party. Fitzpatrick, 2 F.3d at 1115.

      The filing of cross motions for summary judgment “does not give rise to

any presumption that no genuine issues of material fact exist.” 3D Medical

Imaging Sys., LLC v. Visage Imaging, Inc., 228 F. Supp. 3d 1331, 1336 (N.D. Ga.

2017). Rather, cross motions for summary judgement “must be considered

separately, as each movant bears the burden of establishing that no genuine issue

of material fact exists and that it is entitled to judgment as a matter of law.” Id.

(citing Shaw Constructors v. ICF Kaiser Eng’rs, Inc., 395 F.3d 533, 538–39 (5th Cir.

2004)).




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III.   ANALYSIS

       The Court proceeds as follows: (A) the Court will determine what standard

governs a Section 11(b) claim and if either Party is entitled to summary judgment

thereunder, and (B) the Court will address Defendants’ constitutional affirmative

defenses. As is clear from the Court’s above discussion of each Party’s account of

this case, there is not much factual agreement between the Parties. Ultimately,

these factual disputes are material to most of the claims and defenses at issue,

and accordingly, summary judgment is not appropriate for either Party on the

Section 11(b) claim (with one exception, see infra Section (III)(A)(2)(b)(3)(b)) or

the First Amendment speech and petition defenses. Given the lack of evidence

supporting Defendants’ vote dilution and constitutional vagueness defenses, the

Court, however, grants Plaintiffs summary judgment on these defenses.

       A.    Section 11(b)

       Before turning to the facts of this case, the Court must first determine what

test or standard should be applied to a Section 11(b) claim. This task is not a clear

or easy given the overall shortage of law interpreting Section 11(b). The Court

however determines that for their Section 11(b) claim, Plaintiffs must show direct




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action toward voters that caused or could have caused voters to feel reasonably

intimidated.

               1.    Test or Standard Governing Section 11(b)

      Section 11(b) provides, in relevant part that “[n]o person, whether acting

under color of law or otherwise, shall intimidate, threaten, or coerce, or attempt

to intimidate, threaten, or coerce any person for voting or attempting to

vote . . . .” 52 U.S.C. § 10307(b). Black’s Law Dictionary currently defines

“intimidation”      as   “[u]nlawful   coercion;   extortion”;   “threat”   as   “[a]

communicated intent to inflict harm or loss on another . . . ”; and “coerce” as

“compel[ling] by force or threat.” INTIMIDATION, THREAT, COERCE, Black’s

Law Dictionary (11th Ed. 2019). Another district court articulated that at the time

Congress passed Section 11(b), “[i]ntimidate mean[t] to ‘make timid or fearful’ or

‘inspire or affect with fear,’ especially ‘to compel action or inaction (as by

threats).’ Threaten mean[t] to ‘utter threats against’ or ‘promise punishment,

reprisal, or other distress.’” Ariz. All. for Retired Ams. v. Clean Elections USA,

No. CV-22-01823-PHX-MTL, 2022 WL 15678694, at *3 (D. Ariz. Oct. 28, 2022)

(some internal quotation marks excluded) (quoting Webster’s Third New

International Dictionary 1183, 2381(1966)) vacated and dismissed as moot Ariz.


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All. for Retired Ams. v. Clean Elections USA, No. 22-16689, 2023 WL 1097766, at

*1 (9th Cir. Jan. 26, 2023). While “instructive,” id., the Court overall finds the

statutory text and its relevant definitions largely unhelpful to guide its

assessment of Section 11(b) in the light of this case’s particular facts.

        The clearest articulation of a Section 11(b) test is in National Coalition on

Black Civic Participation v. Wohl, 512 F. Supp. 3d 500 (S.D.N.Y. 2021). There, the

district court determined, “intimidation includes messages that a reasonable

recipient, familiar with the context of the message, would interpret as a threat of

injury—whether physical or nonviolent—intended to deter individuals from

exercising their voting rights.” 512 F. Supp. 3d 500, 509 (S.D.N.Y. 2021). The Wohl

court went on to explain that these illegal acts “may take on many forms,” and

can include “actions or communications that inspire fear of economic harm, legal

repercussions, privacy violations, and even surveillance can constitute unlawful

threats or intimidation under the statute.” 8 Id. (citing United States v. Beaty,

288 F.2d 653, 656 (6th Cir. 1961)).



8  Another district court, relying on a Ninth Circuit decision, determined that “to
succeed on [a Section 11(b) claim], a plaintiff must show both an act of intimidation or
attempt to intimidate, and that the act was done with the specific intent to intimidate or
attempt to intimidate.” Parson v. Alcorn, 157 F. Supp. 3d 479, 498 (E.D. Va. 2016). A

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       At the Court’s instruction, the Parties and the Government proposed

standards to govern Section 11(b). Doc. Nos. [191]; [192]; [194]; [208]. Plaintiffs

contend that intimidation under Section 11(b) can be non-violent if it prevents

someone from voting, does not require intent or racial animus, and does not

require direct contact. Doc. No. [193], 12–29. Defendants conversely argue that

intimidation requires a direct connection between the intimidator and the one

being intimidated. Doc. No. [191], 3–4. The Government suggests that the Court

ask, using a totality of the circumstances analysis, if the conduct attempted to or

actually intimidated any person from voting or trying to vote. Id. at 12–17.

Moreover, the Government acknowledges Section 11(b) requires some direct




specific intent requirement, however, has been rejected by several courts who have
determined that there is no specific intent requirement in 11(b) cases, namely by relying
on Section 11(b)’s different statutory language from prior voter intimidation statutes.
See, e.g., Wohl, 498 F. Supp. 3d at 476–77 (“A plaintiff need not show racial animus or
discrimination to establish a violation of Section 11(b). First, the statutory text prohibits
intimidation, threats, and coercive conduct, without any explicit or implicit reliance on
the motivation of the actor. Indeed, the legislative history makes clear that the
prohibited acts of intimidation need not be racially motivated.” (alteration adopted)
(quotation and citation omitted)); see also Nicholas Katzenbach, U.S. Attorney General,
Statement before the House Judicial Committee on the Proposed Voting Rights Act of
1965 (March 18, 1965) (henceforth “Katzenbach, House Judiciary Statement”). For
similar reasons, the Court finds Parson to be an unpersuasive interpretation of Section
11(b).
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connection between the intimidator and the voter, but concedes that this

connection may be supplied by a third-party. 9 Doc. No. [192], 17–21.

        In the light of the statutory text, the Parties’ submissions, and the prior

cases interpreting the statute, the Court agrees with the Government insofar as

finding that intimidation requires considering the totality of the circumstances.

Furthermore, nothing about intimidation suggests that it must be violent or made

personally by the intimidator. Accordingly, the Court will consider non-violent

conduct and third-party actions that have been directed by the Defendants. To

alleviate any concern about all-encompassing or unforeseeable liability, the

Court further determines that the intimidation felt or threatened must also be

objectively reasonable.

        In short, the Court concludes that for Plaintiffs to succeed in their Section

11(b) claims against Defendants, they must show that (1) Defendants’ actions

directly or through means of a third-party in which they directed, (2) caused, or



9 The amicus curiae argues that Section 11(b) does not have an intent requirement,
covers non-violent conduct, and does not have a direct causation requirement. Doc.
No. [208], 10–12, 15–17. It specifically counsels the Court to ban three categories of
non-violent intimidation: (1) false statements or implications that lawful voters are
unlawful voters, (2) falsely stating consequences of voting or suggesting falsely that a
person could be penalized for voting, and (3) monitoring voting activities in a harassing
manner, especially if directed at individual voters. Id. at 12–15.
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could have caused 10, (3) any person to be reasonably be intimidated, threatened,

or coerced from voting or attempting to vote. 11 To assess these required

showings, the Court will use a totality of relevant circumstances inquiry.

               2.    Section 11(b) in the Present Case

         With this framework in mind, the Court turns to the Parties’ arguments.

The Court will address each element in turn: (A) if Defendants (or their agents)

directly engaged with voters, (B) whether Defendants’ actions caused or could have

caused voters’ fear, (C) if the voters’ potential or experienced intimidation was

reasonable.




10 The Court includes the “could have caused” alternative with the understanding that
Section 11(b) also attaches liability for attempts to intimidate, coerce, or threaten voters.
52 U.S.C. § 10307(b) (“No person, whether acting under color of law or otherwise,
shall . . . attempt to intimidate, threaten, or coerce any person for voting or attempting to
vote . . . .” (emphasis added); cf. also ATTEMPT, Black’s Law Dictionary (11th ed. 2019)
(defining “attempt” as “the act or an instance of making an effort to accomplish
something.”).
11 The Court acknowledges that this test does not clearly apply to an organization like
Plaintiff Fair Fight, which itself does not possess the capacity to vote. However, Fair
Fight, has in part, argued that it has organizational standing to assert these claims
because it diverted funds to address Defendants’ purported practices. Doc. No. [29],
19–20. To that end, the Court adds that for Plaintiff Fair Fight to be successful, it must
show how the framework applies to voters and how Defendants’ actions injured Fair
Fight.
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      The Parties dispute every element, and nearly every fact raised. They

disagree broadly whether Defendants directed action at voters and caused (or

could have caused) these voters to feel intimidated. The Parties further disagree

about the following factors that bear, at the very least, on the reasonableness of

voters’ felt intimidation: (1) the relevance of the proximity of Defendants’

challenges to the run-off election, (2) the frivolity of the challenges made, (3) the

intent to target specific voters or demographics of voters, (4) the bounty (or legal

defense fund) created to incentivize challengers, (5) the recruitment of Navy

SEALS to guard (or work) polling places, and (6) the publication of challenged

voter’s names.

      The Court proceeds by discussing each element: directness, causation, and

reasonable intimidation. Given that the Court announces this standard

governing Plaintiffs’ Section 11(b) claim for the first time in this Order, the Court

acknowledges that the Parties’ arguments do not neatly fit into these categories.

The Court does its best to situate each argument (and its relevant evidence)

within its framework, though many of the facts at issue implicate more than one




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element. For example, the Court discusses the six factors mentioned above under

the reasonableness analysis, but most factors also present causation issues. 12

                       a)    Directness of Defendants’ actions toward voters

         The first element identified by the Court for a Section 11(b) claim requires

that the Defendants’ directed their actions at voters, or directed the actions of a

third-party toward voters, in an intimidating fashion. The basis for this

requirement      is   supported    by   Section    11(b)’s   caselaw    where     direct

contact—violent or non-violent—has affected prior decisions on whether a

violation has occurred. See, e.g., Wohl, 498 F. Supp. 3d at 485 (making robocalls

to voters by means of a third party agent); Ariz. Democratic Party v. Ariz.

Republican Party, No. CV-16-03752-PHX-JJT, 2016 WL 8669978, at *6–8 (D. Ariz.

Nov. 4, 2016) (facilitating poll watchers over polls where voters would be voting);

Daschle v. Thune, No. 4:04-cv-04177 2004 WL 3650153 *5–6 (D.S.D. Nov. 1, 2004)

(following Native American voters at polling places “ostentatiously making

notes,” tracking their license plate numbers, and having “loud conversation[s] in




12Indeed, to avoid any risk that the Court’s focus on reasonable fear in this Order might
send the wrong signal to the Parties, the Court now emphasizes that it has significant
questions regarding causation in this case. The Court encourages Plaintiffs (who bear
the burden) to particularly address this element at trial.
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a polling place . . . about Native Americans who were prosecuted for voting

illegally . . . .”), TRO granted Daschle v. Thune, No. 4:04-cv-04177, Doc. 6 (Nov. 2,

2004); Willingham v. Cty. of Albany, 593 F. Supp. 2d 446, 462–63 (N.D.N.Y. 2006)

(going to voters’ homes and disseminating false information about the absentee

ballot process).

      The Court again emphasizes that the direct contact with voters need not be

made by the named Defendants themselves. Certainly, a person cannot escape

liability by doing indirectly through another what he or she would be liable for

directly doing themselves. As long as Plaintiffs are able to show that the named

Defendants engaged a third-party to make direct contact with voters, this

element can be satisfied. See, e.g., Wohl, 498 F. Supp. 3d at 485; Willingham,

593 F. Supp. 2d at 462–63.

      Another question is whether the acts of intimidation must be violent. The

Court hereby joins the courts who have considered sufficiently intimidating

non-violent conduct in Section 11(b) claims. See, e.g., Wohl, 498 F. Supp. 3d at 484

(“It is true that the robocalls were not themselves violent and are not as egregious

as the physical acts of intimidation seen in some of the case law . . . There is no

requirement—in the statutory text or the case law—that intimidation be violent


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or physical.”). Thus, while violent direct contact might more readily present a

scenario of illegal voter intimidation, non-violent conduct may also support

liability under Section 11(b).

         The evidence of Defendants’ direct contact with voters in this case is

disputed. Plaintiffs maintain that Defendants’ manner of making the voter

challenges 13, setting up the bounty for challengers, and recruiting of Navy SEALS

for poll-watching is sufficient contact to have intimidated voters. The Court finds

that the recruitment of Navy SEALS and payment of the bounty to challengers as

Plaintiffs    contend   occurred   here    might constitute    Defendants’    acting

directly—through means of a third-party—in a manner that would intimidate

voters. The Court further, at this stage, accepts that Defendants’ mass voter

challenges as described by Plaintiffs could constitute direct contact with voters.

Thus, to the extent that Plaintiffs have submitted evidence that voters felt or

could have felt intimidated by being, or possibly being, challenged by

Defendants via their county challengers, this element would be satisfied.



13 When the Court discusses Defendants’ voter challenges, the Court is discussing the
Defendants’ physical challenges to voter qualifications, Defendant True the Vote’s
efforts to recruit Georgia electors to challenge other voters’ qualifications, and
Defendants Sommerville’s and Davis’s efforts to recruit Georgia electors to challenge
other voters’ qualifications.
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      Defendants however contest these actions. Broadly, Defendants submit

that “Plaintiffs provided no evidence” that Defendants (or their agents) contacted

any other voter. See, e.g., Doc. No. [173-1], 23 (showing no contact with Plaintiff

Heredia specifically). They cite to interrogatory responses and deposition

testimony from organizers of the challengers that prove they made no contact,

nor directed or endorsed any contact, with voters. Doc. Nos. [155-8], 21–23 (“TTV

never counsels or trains volunteers to confront or approach individuals who are

attempting to vote with any concerns that may arise. TTV always trains and

counsels its volunteers to work through the proper authorities with any

questions or concerns . . . TTV did not accuse, either directly or indirectly, any

voter of acting improperly, and it certainly did not seek to prevent those legally

authorized to vote from doing so.”); [155-15], 13 (“I [Somerville] have had no

communications with any Targeted Voter determined to be a resident of the

county in which they were registered.”); [161-1] (Davis Dep. Tr. 1) Tr. 171:17–21

(“I would encourage people to avoid any kind of contact with these voters unless

it's done by an elected official or a county official or someone conducting an

official investigation.”). Defendants also dispute Plaintiffs’ characterization of the

“bounty” (instead contending it to be a “legal defense fund”) and the recruitment


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of veterans and first responders to work polling places in close contact with

voters in an intimidating fashion. See infra Section (III)(A)(2)(c)(4)–(5).

         Ultimately, given these factual disputes about Defendants’ direct actions

toward voters, summary judgment is inappropriate on the direct contact element.

                      b)     Causation

         The Court also determines that Section 11(b) requires a causal link between

Defendants’ action and whether voters’ felt intimidation. In this section, the

Court will first discuss the legal basis for this requirement, and then address

Plaintiffs’ evidence that Defendants caused or could have caused intimidation in

the broad voter population 14 or in the specific voters identified in this case.

                               (1)    Legal basis for causation element

         To intimidate, coerce, or threaten implicitly requires that the actions at

issue lead to the adverse effect of intimidation on the voter. The caselaw, while




14 The Parties need to also address at trial the more fundamental question of whether
any of the Plaintiffs have asserted an injury on behalf of the broad voter population.
Plaintiff Fair Fight asserted a personal injury (not a grievance on behalf of all Georgia
voters) in the TRO proceedings, which constituted sufficient injury for standing
purposes. Doc. No. [29], 19–20. Because such consideration does not affect the Court’s
conclusion that summary judgment should be denied, for purposes of this Order, the
Court will briefly address whether Defendants’ conduct could have intimidated the
broader voter population.
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not overt in naming a causation requirement, supports that Defendants’ actions

must have some connection to the voters’ alleged intimidation. Cf. Wohl,

498 F. Supp. 3d at 480 (“[C]ourts have concluded that conduct putting others ‘in

fear of harassment and interference with their right to vote’ constitutes

intimidation ‘sufficient’ to support a Section 11(b) claim.” (emphasis added)

(citing League of United Latin Am. Citizens-Richmond Region Council 4614 v.

Pub. Interest Legal Found. (“LULAC”), No. 18 Civ. 423, 2018 WL 3848404, at *4

(E.D. Va. Aug. 13, 2018)); cf. also id. at 482 (comparing Section 11(b) intimidation

to Fair Housing Act intimidation, which requires “a showing that the

[defendant’s] activities had generated fear in the [plaintiff]” (alteration in original)

(emphasis added) (quoting Walker v. City of Lakewood, 272 F.3d 1114, 1129 n.4

(9th Cir. 2001)). Moreover, Section 11(b) generally attributes to Defendants the

natural consequences of their actions, which also implies a causation requirement.15

Cf. e.g., Katzenbach, House Judiciary Statement (“[D]efendants [are] deemed to

intend the natural consequences of their acts.”).



15 While legislative speeches are no basis alone to interpret a statute, Section 11(b) text
supports Katzenbach’s account of the legislative history given the lack of intent
requirement, especially in contrast to prior Civil Rights statutes. Thus, the Court finds
Katzenbach’s speech persuasive as it is supported by Section 11(b)’s text and legislative
context.
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      Thus, the Court determines that there must be some connection between

Defendants’ conduct and the intimidation that is reasonably felt or could be

reasonably felt by a voter. The Court however does not believe that this causation

requirement needs to be onerous. Defendants’ actions need only be connected to

the voters feeling (or potentially feeling) intimidated. Cf. Wohl, 498 F. Supp. 3d

at 480. Put differently, the Defendants’ conduct must generate the possibility that

voters would feel threatened, intimidated, or coerced. Cf. id. at 482.

                             (2)   Causation evidence that Defendants’ actions

                                   intimidated the broad voter population

      Here, for the broad voter population, the evidence supporting causation

largely repeats the evidence already discussed for Defendants’ direct actions

toward voters, including the allegations and evidence that Defendants issued,

encouraged, or enabled frivolous mass voter challenges, recruited Navy SEALS

as poll watchers, and created a bounty for challengers. Also relevant is

Defendants’ role or foreknowledge of the publication of challenged voters’

names. The Court reserves its more thorough discussion of these facts for the

reasonableness inquiry. See infra Section (III)(A)(2)(c)(2), (4)–(6). Clearly,

however, there are material disputes of fact precluding summary judgment.


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                             (3)   Causation evidence that Defendants’ actions

                                   intimidated specific voters

      For evidence pertaining to specific voters in this case, Defendants also raise

causation issues that require further discussion. Plaintiffs seem to submit

evidence of intimidation felt by three named Plaintiffs (Ms. Heredia, Ms. Jane

Doe, and Mr. Berson), and two non-Plaintiff-voters (Ms. Stinetorf and Mr.

Turner). Ultimately, for Plaintiff-voters Heredia and Jane Doe, the Court

determines that questions of fact regarding causation preclude summary

judgment on their claims. For Plaintiff Berson and the two non-Plaintiff voters,

however, the Court determines that summary judgment is appropriate for

Defendants as it pertains to intimidation based on Defendants making Section 230

voter challenges given the undisputed evidence that causation is lacking. Because

other methods of intimidation (e.g., publication of challenged voters’ names)

present questions of fact, however, summary judgment overall is inapposite.

                                   (a)        Plaintiffs Heredia and Jane Doe

      Plaintiff Heredia testified to feeling afraid while voting once she

discovered the challenge to her voting eligibility and was required to provide

additional proof of eligibility to vote. Doc. No. [163-1] (Heredia Dep. Tr.) Tr.


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24:3–23. Specifically, she cited the “longer process” she underwent to vote

(ultimately taking 3-4 hours) and the fact that, as one of the only minority voters

at the polling place, she “fel[t] intimidated” by the challenge. Id. at 44:19–45:8.

While no one directly spoke to her, Heredia contended that “people can talk with

their eyes,” which contributed to her feeling intimidated. Id. at 48:19–21. She also

testified to being afraid when she discovered that she had been published on the

county’s website as a challenged voter. Id. at 31:24–32:3. Heredia concluded, that

during the process of voting, “I felt very intimidated. Like even when I went

home, I was still shocked.” Id. at 47:23–25.

      Defendants dispute that Heredia was actually intimidated by having her

voter eligibility challenged. Defendants cite to Heredia’s deposition testimony

that she “felt intimidated from the get-go, as soon as I was there [at the polling

place]. Because . . . I’m the only Hispanic coming to vote at a predominantly

Republican county; I’m the only non-white; so from there, I felt intimidated.” Id.

at 48:6–10. Defendants thus argue that it was not the voter challenge, but other

circumstances at her polling place (unrelated to Defendants) that caused her to

be afraid. Doc. No. [173], 10–13. Defendants also maintain, as discussed infra

Section (III)(A)(2)(c)(6), that they had no role in publishing the names of


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challenged voters. Accordingly, there are disputes of fact on whether

Defendants’ conduct caused Heredia to be intimidated.

      Similar arguments were made regarding Plaintiff Jane Doe. Jane Doe

claims that she was “extremely upset when [she] learned that [her] eligibility to

vote had been challenged by True the Vote . . . when [she] read a story in the local

paper about True the Vote’s challenges and saw her name and address had been

published online.” Doc. No. [156-19], ¶ 5. She claims the “challenge [was]

upsetting” because “it felt like someone was trying to deprive my right to vote,

and in a public way.” Id. at ¶ 6. Other than the challenge being “stressful,” she

also “feared that [she or her family] could become the next target of harassment

from True the Vote and their supporters.” Id. at ¶ 9. She fears future challenges

and questioning of her eligibility to vote. Id. at ¶ 11.

      Defendants dispute that their conduct caused Jane Doe’s fear. Again, as

discussed in greater detail infra Section (III)(A)(2)(c)(6), they dispute that they

directly published or had a role in pushing her name. Doc. Nos. [168-1] (TTV

Dep. Tr.) Tr. 257:11:–14; [166-1] (Somerville Dep. Tr. 2) Tr. 73:7–14; [165-1] (Davis

Dep. Tr. 2) Tr. 46:7–14, 80:4–10. Defendants also dispute that they had any direct

contact with Jane Doe, let alone contact that would have put her in fear of voting


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or of future harassment. Doc. Nos. [155-8], 21–2; [155-15], 13. Finally, Defendants

dispute that any of their actions deprived, or were intended to deprive, Jane

Doe’s right to vote as an eligible voter. Doc. Nos. [168-1] (TTV Dep. Tr.) Tr.

152:15–54:19, 170:7–18; [165-1] (Davis Dep. Tr. 2) Tr. 199:15–21. The dispute

between the Parties comes down to weighing the facts and assessing Jane Doe’s

credibility. Consequently, the Court cannot grant summary judgment for either

Plaintiffs or Defendants on Jane Doe’s claim.

                                    (b)        Muscogee County voters: Stinetorf,

                                               Turner, Plaintiff Berson

      Plaintiffs also submit declarations by two non-Plaintiff voters, Stephanie

Stinetorf and Gamaliel Turner, who were registered to vote in Muscogee County

with legitimate reasons for temporarily relocating, which did not affect their

eligibility to vote in Muscogee County. Stinetorf and Turner each submitted

statements about the fear and intimidation they felt given the challenges to their

voting eligibility. Doc. Nos. [156-20], ¶¶ 7–13 (discussing Stinetorf’s anxiety after

voting absentee and learning that her vote had been challenged and blocked by

a court order); [156-21], ¶¶ 7–12 (discussing Turner’s voter challenge which




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resulted in him suing the Muscogee County Board of Elections and paying for

expedited shipping of his absentee ballot).

      Defendants do not dispute Stinetorf’s and Turner’s experiences but argue

the voter challenges made against them cannot be attributed to Defendants

because Defendants’ efforts did not lead to any Section 230 challenges being

made in Muscogee County. Doc. Nos. [155-6], 7–8 (listing counties where True

the Vote made challenges—which does not include Muscogee County—and

representing that “TTV submitted no other challenges”); [165-1] (Davis Dep.

Tr. 2) Tr. 144:9–15 (discussing how the Somerville and Davis lists did not result

in challenges in Muscogee County). The same applies to Berson, who is also a

challenged voter from Muscogee County. Doc. No. [155-23], 2, 6.

      Plaintiffs do not dispute that Defendants Davis and Somerville did not

make Section 230 challenges in Muscogee County. Doc. No. [174-1], 86. Likewise,

the evidence is uncontroverted that Defendant True the Vote did not make voter

challenges through its agents in Muscogee County. Doc. No. [155-6], 7–8.

      Thus, based on the undisputed facts, the Court concludes that the

Section 230 challenges against Stinetorf, Turner, and Berson were not caused by




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Defendants. In short, no evidence connects the Muscogee County voters’

intimidation based on voter challenges with the Defendants.

      This determination, however, does not mean that Section 11(b) does not

apply to these voters. The Section 230 voter challenges are only one basis of

intimidation alleged by Plaintiffs against Defendants. Plaintiffs also allege, for

example, that Defendants intimidated voters by recruiting Navy SEALS and

publishing lists of challenged voters. Discussed infra Section (III)(A)(2)(c)(5)–(6),

these actions, independent of the voter challenges, could cause a person to be

reasonably intimidated in exercising his or her right to vote. Thus, the Court

determines that Defendants are entitled to summary judgment on Plaintiffs’

claims relating to Section 230 voter challenges in Muscogee County, but the Section

11(b) claim nevertheless survives summary judgment for all voters because of

other factual disputes of allegedly intimidating conduct.

                     c)    Objectively reasonable intimidation

      Finally, the Court addresses whether Defendants’ actions reasonably could

have intimidated or did actually intimidate voters. Every claim of intimidation

will be different, and thus a totality of the circumstances test allows Section

11(b)’s scope to manifest across evolving norms and discrete situations.


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         In this case, there are numerous disputed facts relevant to the

reasonableness inquiry that preclude summary judgment for either Party. The

Parties present six-factors for the Court to consider in in determining whether

Defendants’ actions might have or did cause reasonable intimidation in this case:

(1) the proximity of the challenges to the election, (2) the frivolity of challenges,

(3) Defendants’ motivation in making the challenges, (4) the bounty (or legal

defense fund) to incentivize challengers, (5) the recruitment of Navy SEALS to

watch (or work) polling places, and (6) the publication of challenged voters’

names. Again, the Parties dispute nearly every factor, and thus summary

judgment is still inapposite. 16

                              (1)    Proximity of the voter challenges to the

                                     run-off election

         The Court first considers the proximity of Defendants’ challenges.

Defendants disclosed their intent to make Section 230 voter challenges in

mid-December 2020 in anticipation of the January 5, 2021 run-off election.




16 Given there is a dispute on most every factor, the Court reserves any consideration
on the weight to accord these factors until it has heard the evidence presented and is
able to make credibility and factual determinations as the trier of fact.
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         The Court finds there is a federal interest in not purging voter rolls close

to an election. Congress clearly expressed this interest in the National Voter

Registration Act (NVRA), 52 U.S.C. § 20507, when it prohibited states from mass

removals of voters’ names from voting registration lists less than 90-days before

an election. Such removals can only occur within the 90-day period “(1) at the

request of the registrant; (2) as provided by State law, by reason of criminal

conviction or mental incapacity; [or] (3) upon death of the registrant.” Arcia v.

Fla. Sec’y of State, 772 F.3d 1335, 1345 (11th Cir. 2014). Thus, “individualized

removals are safe to conduct at any time,” but “[f]or programs that systematically

remove voters . . . Congress decided to be more cautious.” Id. at 1346.

         While cautious heavily rely on the NVRA in this case, 17 the Court considers

the NVRA’s prohibitions on mass removals of voters from registration lists close



17 This statement is admittedly in some tension with the Court’s expressed concern in
the TRO about Defendants’ actions circumventing the NVRA’s requirements and
limitations. Doc. No. [29], 11–15. The Court maintains its concern about Defendants’
motivation, but also must limit its decision to the Section 11(b) claim and its standards
governing the instant motion for summary judgment. And, here, the NVRA is not at
issue. Plaintiffs do not bring a claim under the NVRA. Nor do Defendants have
authority over a state’s voter registration list—which is primarily what the NVRA
protects against. The Court moreover is not faced with deciding if any state or county
entity who received these mass challenges could have removed the challenged voters
from their registration lists without violating the NVRA. At least one sister district court,
in a case involving Section 230 voter challenges brought against a county board of

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to an election in assessing the reasonableness of Defendants’ challenges which

were made within weeks of an election. This consideration is especially relevant

since Defendants’ actions could implicate the NVRA by forcing many voters to

prove their voting eligibility or risk being removed from a voter roll within

90-days of an election. Because Congress has established that no major changes

to the voter rolls should occur within 90-days of an election, the Court will use

90-days as a baseline for determining the relative closeness of the challenge to the

election. Thereby, given that Defendants do not contest that they made these

voter challenges within 30-days of the January 5, 2021 run-off election, this factor




registrars, has determined through a “fair reading,” that Section 230 challenges are not
preempted by the NVRA. Majority Forward v. Ben Hill Cty. Bd. of Elections,
512 F. Supp. 3d 1354, 1368–69 (M.D. Ga. 2021). In short, the NVRA’s role in this case is
limited.
        The Court further notes that the NVRA’s the 90-day bar on mass removals of
voters and the additional procedures required to verify NCOA information, in context,
are within statutory requirements to “conduct a general program that makes a
reasonable effort to remove the names of ineligible voters from the official lists of
eligible voters by reason of (A) the death of the registrant; or (B) a change in the
residence of the registrant [in accordance with the remaining statutorily limitations.]”
52 U.S.C. § 20507(a)(4); see also, e.g., id. § 20507(c)(1) (“A State may meet the
requirement of subsection (a)(4) by establishing a program [where NCOA data is used
and verified].”). The interplay the NVRA’s countervailing concerns (i.e., mandating
states remove ineligible voters and protecting eligible voters from the states’ removal
programs) is lost in a case claiming voter intimidation against a private party.
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is undisputed, and weighs in favor of finding that the challenges reasonably

could have resulted in voter intimidation.

                             (2)   Frivolity of challenges

      Plaintiffs also argue that Defendants’ voter challenges were frivolous. The

Court will first address some preliminary considerations regarding frivolity as a

factor in this Section 11(b) case, and then will turn to the evidence presented and

arguments made by the Parties.

                                   (a)        preliminary considerations

      Plaintiffs’ argument connecting the frivolity of Defendants’ challenges to

voter intimidation is still somewhat unclear. The Court construes Plaintiffs to

argue that a frivolous challenge can be reasonably intimidating because such

challenge has no chance of stopping an ineligible voter, and thereby only has the

effect of deterring (i.e., coercing) eligible voters from trying to vote. The Court

recognizes that, with the right proof under the totality of the circumstances, this

theory might support a Section 11(b) claim against Defendants.




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         The Court has, however, an open question about how to assess if a

challenge was frivolous or not. 18 Plaintiffs assert simply that frivolity is a lack of

probable cause. Doc. No. [210] (Feb. 1 Hearing Tr.) Tr. 13:24–14:3. In other words,

if a county determines there is no probable cause to pursue whether a voter is

eligible to vote, then the challenge was frivolous. Defendants conversely argue

that frivolity ought to be determined only if the challenge lacks a basis in law and

fact. Id. at 30:16–19.

         At this time, the Court does not determine an exact standard for frivolity

in reference to Section 11(b) intimidation in this case. The purpose of assessing

frivolity in the Section 11(b) analysis is to determine if Defendants’ challenges

reasonably contributed to voters feeling (or potentially feeling) threatened in

exercising their right to vote. In this Court’s estimation, the intimidating effect of

a potentially frivolous challenge does not necessarily require the challenge itself



18  This question is further complicated by the fact that Plaintiffs use “frivolity” in two
distinct arguments—(1) the instant issue regarding whether Defendants challenges
intimidated voters, and (2) in response to Defendants’ First Amendment petition
defense, where Plaintiffs argue that frivolous petitions are not constitutionally protected.
Doc. Nos. [156-1], 15; [174], 25–26. The Court requested supplemental briefing on
frivolity in reference to the petition defense (Doc. No. [184]), and addresses both issues
of frivolity in this Order. It need not (and does not), however, determine as a legal matter
if frivolity for a Section 11(b) intimidation analysis and the petition defense require the
same proof.
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meet any specific standard of frivolousness. Put somewhat differently, at issue

for Section 11(b) purposes is the perceived effect of the challenges, not whether

the challenges were actually frivolous.

         Nevertheless, the Court’s forthcoming analysis more closely resembles

Defendants’ proposed test. The Court is unpersuaded that every instance where

a county does not pursue a Section 230 voter challenge means that the challenge

is frivolous. Given that the Court has accepted Plaintiffs’ argument that frivolous

challenges may cause reasonable intimidation, Plaintiffs’ probable cause

standard could mean that every failed challenge would support Section 11(b)

liability. This result cannot be. The bar for frivolity, thereby, in this Court’s view

must be higher than the county’s mere failure to determine probable cause. 19



19 Probable cause, although not a high bar, is a higher bar than frivolity. “Probable cause
to institute civil proceedings requires no more than a ‘reasonabl[e] belie[f] that there is
a chance that [a] claim may be held valid upon adjudication.’” DeMartini v. Town of
Gulf Stream, 942 F.3d 1277, 1300–01 (11th Cir. 2019) (quoting Pro. Real Estate Investors,
Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 62–63 (1993); Restatement (Second) of
Torts § 675, cmt. E (Am. Law Inst. 1977)). “Therefore, ‘it is not necessary to show that
the instigator of a lawsuit was certain of the outcome of the proceeding, but rather that
he had a reasonable belief, based on the facts and circumstances known to him, in the
validity of the claim.’” Id. at 1301 (quoting Mee Indus. v. Dow Chem. Co., 608 F.3d 1202,
1211 (11th Cir. 2010)). By comparison, a frivolous claim has been defined as being “so
lacking in arguable merit as to be groundless or without foundation.” Sullivan v. Sch.
Bd. of Pinellas Cty., 773 F.2d 1182, 1188 (11th Cir. 1985) (citing Jones v. Texas Tech Univ.,
656 F.2d 1137, 1145 (5th Cir. 1981)).
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         In short, whether a voter challenge was “legitimate” or merely “frivolous”

might affect the reasonableness of a voters’ feelings of fear or intimidation. It

might also bear on Defendants’ motivation in making the challenges, how serious

the board of registrars (or the public more generally) should have taken the

challenges, and whether any burden felt by a challenged voter was necessary or

proper. All of these implications might have an effect on whether Defendants’

actions could have or did cause reasonable voter intimidation. 20

                                     (b)        evidence presented of frivolity

         With these preliminary considerations in mind, the Court turns to the

Parties’ substantive arguments. Plaintiffs assert several arguments that

Defendants’ methods of compiling the lists of voters to challenge lacked rigor,

was incomplete, and ultimately incorrect. Doc. No. [156-1], 15–23. Plaintiffs

contend that the following evidence support the Court finding as a matter of law

that Defendants’ challenges were frivolously made and reasonably caused voter

intimidation: (i) True the Vote’s data used bad data sets and analytics, (ii) True




20 By considering the challenges with an emphasis on the challenges’ effect on voters,
the Court also need not resolve any issues of Section 11(b) preempting Georgia’s
Section 230 voter challenges. The Court has considered the preemption question a great
deal, but ultimately determines that further assessment is not required here.
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the Voter’s data was criticized by insiders to its voter challenge initiative, (iii) the

exclusive use of the NCOA data set makes the challenges frivolous as a matter of

federal law, and (iv) Davis’s and Somerville’s lists were poorly formulated. Id.

Defendants contest each piece of this evidence. Doc. No. [173], 14–28. Ultimately,

the Court concludes that disputes of material fact preclude summary judgment

based on the frivolity of the Defendants’ challenges.

                                              i)   True the Vote’s data sets and

                                                   analytics

      Plaintiffs submit expert testimony from Dr. Kenneth Mayer who assessed

the adequacy of Defendants’ data and methodology, and concluded they were

inadequate. Doc. No. [156-16], 5. Mayer’s conclusion relies on True the Vote’s

data not having a “unique identifier” or a matching process to ensure the persons

who submitted NCOA requests reflected the same voters on the registration lists.

Id. at 6–11. Mayer further opined about a number of blatant and significant errors

in True the Vote’s challenge list, including missing fields of information, wrong

zip codes, and inconsistent abbreviations and spellings. Id. Mayer also relied on

Defendants’ lists containing likely eligible voters who had legitimately relocated

for military service or higher education. Id. at 35 (“In total, I identified 57,534


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registrants in the challenge file who appear to have moved to or near a military

installation, or to a municipality with a college or university. This constitutes

22.9% of the registrants in the challenge file.”).

         Defendants dispute that their methodology was inadequate. Defendants

cite heavily to the deposition testimony of Greg Phillips, the spokesperson of

OpSec, who created the algorithms and completed the data analysis True the

Vote used to craft its lists of voters to challenge. Phillips testified, contrary to

Plaintiffs’ contention, that Defendants used multiple data files (not just the

NCOA data) and algorithms to create the list of voters to be challenged. Doc.

Nos. [167-1] (OpSec Dep. Tr.) Tr. 95:10–96:17; [168-1] (TTV Dep. Tr.) Tr.

134:21–135:1 (indicating True the Vote used “a variety of databases and filters

[and] evaluated from the rolls what records showed up on the NCOA standard

given additional filters.”). Phillips further outlined OpSec’s data cleansing

process (to cure the incomplete or mismatched data) and verification of

“identity” (to reduce the number and severity of potential mistakes). 21 Doc.

No. [167-1] (OpSec Dep. Tr.) Tr. 115:1–18, 94:1–2.



21 According to Phillips, “verifying” or “resolving identity” is OpSec’s proprietary
process that reduces the inherent risk of voter data, the lack of unique identifier in data

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      Phillips also discussed that the algorithms were intended removed eligible

military and student voters from the lists. Doc. Nos. [167-1] (OpSec Dep. Tr.) Tr.

128:1–15; [168-1] (TTV Dep. Tr.) Tr. 203:3–11 (“NCOA link versions gives you the

opportunity to filter out any recognized military address” and also “efforts

[were] made to recognize the standard zip codes, orientations of bases

[addresses]” and that “those were filtered out.”). True the Vote recognized

specifically that military members relocate with greater frequency and that their

change of address data, thereby is more “sensitive.” Doc. No. [168-1] (TTV Dep.

Tr.) Tr. 104:16–22.

      Philips candidly admits that there will be voters on the challenge list that

are eligible to vote and reiterates that the final decision regarding voter eligibility

(or the need to prove such) belongs to the county, not the challengers. Doc.

Nos. [167-1] (OpSec Dep. Tr.) Tr. 129:8–15; [168-1] (TTV Dep. Tr.) Tr. 232:19–22.

(“[A]ccording to the analysis that we provided, or that we supported, records




sets, and problems relating to shared (or duplicate) names and addresses among voters.
Doc. No. [167-1] (OpSec Dep. Tr.) Tr. 107:9–108:4. Per the Court’s order on Plaintiffs’
motion in limine (Doc. No. [221]), however, the Court will not consider any technical
opinions rendered by this lay witness, which in this case includes any lay witness’s
assessment of the reliability of these processes in reducing risk.
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[informing the voter challenges] corresponded with individual decisions to

permanently change their residence.”).

         Given the conflicting factual accounts, the Court determines that there are

material disputes of fact regarding what data True the Vote used to make their

challenges and its attentiveness in ensuring eligible voters were removed from

its lists. Accordingly, a trier of fact must weigh this evidence, and it cannot be a

basis for summary judgment.

                                               ii)   criticisms of True the Vote’s lists

         Plaintiffs also cite Joseph Martin’s and Mark Davis’s testimony as evidence

that True the Vote’s challenge lists were inadequate. Martin volunteered as a

True the Vote challenger, but ultimately retracted his challenges when two voters

he challenged were proven eligible to vote. Doc. No. [159-1] (Martin Dep. Tr.) Tr.

77:10–78:12, 62:7–16, 64:4–20, 65:19–66:17. Martin thereafter raised his concerns

about the True the Vote’s lists. 22 Id. at 83:20–84:6, 87:7–21.




22  The Parties also appear to disagree about whether True the Vote submitted the
challenges under Martin’s name without his consent. Doc. Nos. [159-1] (Martin Dep.
Tr.) Tr. 56:5–57:15; [157-1] (Cooper Dep. Tr.) Tr. 75:8–76:4. While there is a dispute, the
Court does not find it material for purposes of summary judgment on the claims at issue
as presented in the Parties’ arguments.
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         For his part, Davis “took exception with some of [True the Vote’s] logic”

and indicated that their methodology and strategy in compiling the challenger

lists was “not the way I would have done it,” specifically stating that he

“probably would have narrowed the scope” of the challenges made. 23 Doc.

No. [161-1] (Davis Dep. Tr. 1) Tr. 60:17–19, 61:6–7. Plaintiffs argue that these

criticisms of True the Vote’s list compiling methodology by persons close to its

initiative supports Plaintiffs’ argument that True the Vote knowingly asserted

frivolous challenges. Doc. No. [156-1], 21–23.

         Defendants argue that Martin retracted his challenges because he did not

want to put the voting registrar through the “painful process of validating” the

rest of the challenged voters. Doc. No. [159-1] (Martin Dep. Tr.) Tr. 78:6–9.

Defendants further maintain that of the 37 people on Martin’s lists, only 3 voters

are discussed and 2 of them in fact did not live in the county they were registered

in: one voter was registered in the wrong county and another did not live in the

county but remained eligible to vote through the homestead exemption. Doc.




23 True the Vote admits that they “wanted to review as many records, recognizing that
the state hadn’t cleaned their rolls in two years . . . .” Doc. No. [168-1] (TTV Dep. Tr.) Tr.
149:12–19.
                                            43
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Nos. [173], 27–28; [159-1] (Martin Dep. Tr.) Tr. 64:4–66:7. Defendants further

argue that Mark Davis’s actual statement was not a criticism, but a difference of

opinion on the right strategy to take in challenging voters. Doc. No. [173-1],

56–57, ¶ 77.

      Because the Parties put forth different interpretations of these statements

and the circumstances giving rise to them, a credibility determination is required.

Such determination must be made by a trier of fact and is not proper for summary

judgment resolution.

                                             iii)   exclusive use of NCOA data

      Plaintiffs next rely on the NVRA’s prohibition on removing a voter from a

voting list based on change of address (NCOA) data alone. The NVRA requires

a state either “confirm[] in writing that the registrant has changed

residence . . . outside the jurisdiction” or has failed to receive a response “to a

notice [sent], and has not voted or appeared to vote . . . in an election” in the two

federal general elections since the date of the notice. 52 U.S.C. § 20507(d)(1). Thus,

according to Plaintiffs, if Defendants only relied only on NCOA data, then the

challenges could not have been used to remove voters as a matter of federal law.

Doc. No. [156-1], 21–22.


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      Defendants respond with both a legal argument and a factual argument.

Legally, Defendants contend that initiating a voter eligibility determination with

the NCOA data is “undisputedly lawful.” Doc. No. [173], 23–24 (citing Husted v.

A. Philip Randolf Inst., 138 S.Ct. 1833, 1839-40 (2018)). Factually, Defendants

argue that they used multiple data files and algorithms to create the list of voters

to be challenged, not just NCOA data. Doc. No. [167-1] (OpSec Dep. Tr.) Tr.

95:10–96:17. True the Vote specifically testified that it used “a variety of databases

and filters [and] evaluated from the rolls what records showed up on the NCOA

standard given additional filters . . . .” Doc. No. [168-1] (TTV Dep. Tr.) Tr.

134:21–135:1.

      The Court agrees with Defendants’ contention that using the NCOA data

can be a proper starting point for assessing voter eligibility. The NVRA clearly

conceives of a situation where NCOA data prompts state investigation into a

voter’s eligibility. See 52 U.S.C. § 20507(c)(1), (d)(1). Thus, Defendants use of the

NCOA data as a basis for their voter challenges does not per se require a finding

that the challenges were frivolous. If, however, Defendants only used the NCOA

data to make their lists, then such fact might weigh in favor of finding that the

challenges were frivolous because a change of address alone is not sufficient to


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remove a voter from the voting rolls. Because the Parties dispute whether, and to

what extent, Defendants used other data sets to form their challenge lists,

summary judgment cannot be granted on this basis.

                                            iv)   Davis’s and Somerville’s lists

      Plaintiffs also claim that Mark Davis and Derek Somerville’s lists led to

frivolous voter challenges. Davis testified that he did not recall how many voters

they “scrub[bed]” who lived near military bases, nor did he remember

“scrubbing” voters who were on college campuses. Doc. No. [161-1] (Davis Dep.

Tr. 1) Tr. 149:9–150:3. Plaintiffs further cite Phillips’ OpSec testimony that Davis

and Somerville used “bad process” in making their lists. Doc. No. [167-1] (OpSec

Dep. Tr.) Tr. 103:16.

      Defendants recall Phillips’ full statement, which was a “guess” that Davis

did not use proper procedures and algorithms. Id. at 103:12–15 (emphasis

added). Davis defends his lists. In his belief, the types of issues Plaintiffs raise

were better left to a board of registrars’ probable cause review, or the Secretary

of State’s office investigation into the challenged voter. Doc. No. [161-1] (Davis

Dep. Tr. 1) Tr. 150:3–9.




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         While the Court reads Phillips’ statement to plainly criticize the methods

used by Davis and Somerville, 24 it does not find Plaintiffs’ evidence sufficient to

say conclusively that Davis’s and Somerville’s methods resulted in a frivolous

list of voters. Nor does it find Davis’s and Somerville’s non-expert, lay testimony

sufficient to say their challenges were non-frivolous. In short, this evidence

presents a question of fact and credibility inappropriate for summary judgment

resolution.

                                       (c)        disputes of fact preclude summary

                                                  judgment based on voter challenges

                                                  being frivolous

         Here, the Court clearly is faced with two drastically different accounts of

True the Vote’s process of making the challenged voter lists. Thus, the care (or

lack thereof) with which Defendants ensured challenged voters on their lists

were potentially ineligible is not a factor that can be resolved on summary




24  The Court also acknowledges Plaintiffs’ objection to this section of Phillips’
deposition testimony where Phillips confers with his lawyer before seemingly retracting
the force of his criticism. Doc. No. [156-1], 28 n. 7. Given that summary judgment must
be denied for both Parties, the Court will defer a ruling on this objection, but Plaintiffs
may reraise the issue in a pre-trial motion.
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judgment, for any Defendants, given the credibility and factual determinations

that must be made.

                             (3)   Motivation in challenging voters

      Plaintiffs further argue that Defendants intended to intimidate voters,

specifically minority voters. Both Parties agree that Section 11(b) does not impose

an intent requirement and that Section 11(b) does not require Defendants act with

racial animus. See, e.g., Allen v. City of Graham, No. 1:20-CV-997,

2021 WL 2223772, at *7 (M.D.N.C. June 2, 2021); Council on Am.-Islamic

Rels.-Minn. v. Atlas Aegis, LLC, 497 F. Supp. 3d 371, 375 (D. Minn. 2020); Wohl,

498 F. Supp. 3d at 476–77.

      The Court agrees that there is no intent requirement in Section 11(b) cases.

In other cases, however, courts have looked at intent as a factor for determining

if intimidation has occurred. Moreover, it is commonly cited in Section 11(b) cases

that “‘normally’ a person ‘is presumed to have intended the natural

consequences of his deeds.’” Id. at 485 (citing Washington v. Davis, 426 U.S. 229,

253, (1976) (Stevens, J., concurring)); Katzenbach, House Judiciary Statement

(“[U]nder the language of [Section 11(b)], no subjective ‘purpose’ need be

shown . . . in order to prove intimidation under the proposed bill. Rather


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defendants would be deemed to intend the natural consequences of their acts.”

(emphasis added)). To determine if Defendants’ actions reasonably caused or

could have reasonably caused intimidation, the Court will thereby assess

Defendants’ (a) intent to intimidate voters broadly, and (b) intent to intimidate

minority voters specifically.

                                     (a)        intent to intimidate voters broadly

      Plaintiffs’ argument and submissions regarding intent are unclear.

Plaintiffs certainly put forth evidence (and Defendants do not dispute) that

Defendants intended to make the mass number of Section 230 challenges before

the election. See, e.g., Doc. No. [156-31] (recruiting challengers from counties in

Georgia to make the challenges). Plaintiffs also seem to argue that Defendants

intended for these challenges to have the effect of burdening challenged voters

to prove eligibility to vote. Again, Defendants do not appear to contest that they

intended, as a natural consequence of the challenges, that once a challenge was

made, then the challenged voter would be forced to prove their eligibility. See,

e.g., Doc. Nos. [156-25] (indicating that “filing the challenges . . . will help ensure

only legal, eligible votes are counted . . . .”); [156-4], 1 (indicating a goal of the

Validate the Vote effort was “[t]o ensure the 2020 election returns reflect one vote


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cast by one eligible voter and thereby protect the right to vote and the integrity

of the election.”); [165-1] (Davis Dep. Tr. 2) Tr. 37:17–18 (acknowledging the

“inconvenience” of being challenged).

      Plaintiffs’ argument therefore must be that intending the burden of

proving eligibility constitutes intent to intimidate. In support, Plaintiffs cite to

Mayer’s expert report in which he states that “voters whose eligibility is

challenged may perceive a legal risk if they vote, which again dramatically

increases the cost of voting and discourages turnout even if the individual is

eligible.” Doc. No. [156-16], 44. Another of Plaintiffs’ expert witnesses further

testifies that “voters may be reasonably hesitant to arrive at the polls to ‘prove’

their eligibility if it has been challenged, even if the voter is in fact eligible to

vote.” Doc. No. [156-17], 27. Defendants dispute that the burden of being

challenged means Defendants’ intended to intimidate eligible voters. In fact, they

maintain there is clear evidence to the contrary . Doc. Nos. [165-1] (Davis Dep.

Tr. 2) Tr. 37:16–18 (“Our goal was to produce legitimate challenges as much as

possible. We didn’t want to inconvenience people unnecessarily . . . .”); [156-4]

(stating the goal of Validate the Vote was “[t]o ensure the 2020 election returns




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reflect one vote cast by one eligible voter and thereby protect the right to vote

and the integrity of the election.”).

      The Court acknowledges Mayer’s expert conclusion that the burdens

imposed could have the effect of threatening a voter from voting, and reiterates

that “[D]efendants [are] deemed to intend the natural consequences of their acts.”

Katzenbach, House Judiciary Statement. Because the issue of intent ultimately

requires weighing credibility, the Court determines that this factor cannot

support summary judgment for either Party.

                                        (b)        intent to intimidate minority voters

                                                   specifically

      Intent to intimidate “a particular group or groups” has further been a

factor that other courts have considered in a Section 11(b) analysis. Atlas Aegis,

497 F. Supp. 3d at 375. Exemplary is Daschle v. Thune, where the specific

targeting of Native American voters led the district court to grant a TRO under

Section 11(b). 2004 WL 3650153 *5–6. The Court likewise will consider any

evidence that Defendants specifically targeted minorities in their voter

challenges to determine if the alleged intimidation felt was reasonable.




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      Plaintiffs’ expert, Dr. Mayer, concludes that True the Vote’s challenges

were skewed toward counties with higher percentages of Black voters. Doc.

No. [156-16], 37–40. Specifically, Mayer finds that of the 65 counties where

Defendants submitted voter challenges, 3 had the highest percentage of Blacks in

Georgia, that 10 of the 20 counties with the highest percentage of Blacks in

Georgia were challenged, and that only 4 of the 20 counties with the lowest

percentages of Blacks were challenged. Id. at 37. Mayer furthermore stated that

“27.3% of individuals overall in the challenge file [were] African American, [but]

40.3% of the individuals in duplicated records are African American.” Id. at 29.

Plaintiffs rely on this evidence to assert that Defendants specifically targeted

challenges toward counties with a greater minority presence.

      Defendants contend that they did not assess any demographic data until

after Plaintiffs filed this lawsuit. Doc. Nos. [167-1] (OpSec Dep. Tr.) Tr. 149:14–17

(declaring that they did not “analyze demographic information or other

characteristics of the individuals” challenged “until after [Plaintiffs] sued”),

163:13–164:10 (discussing an excel spreadsheet with demographic data,

specifically racial data, that Defendants claim they “probably looked at after we

were sued, but not before”); [168-1] (TTV Dep. Tr.) Tr. 248:13–22 (indicating that


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the racial analysis occurred “post the elector challenge effort or initiative); [166-1]

(Somerville Dep. Tr. 2) Tr. 31:14–20 (“I wanted to make sure that as we compiled

our data, that our data was distributed and driven by the conditions that we set

forth, which was the change of address, and that there wasn’t any particular bias

regarding any other factor other than the data.”); [156-25], 2 (declaring in a press

release about the challenges that “True the Vote’s research was performed

uniformly across all counties, without regard to any demographic or voting

history.”).

      Plaintiffs’ expert report indicates that there is a statistical basis for

concluding Defendants targeted racial minorities in their challenges, and

Defendants dispute this conclusion with testimonial evidence that they did not

consider demographics when making voter challenges. Thus, there is a

credibility determination that must be decided by a trier of fact. Thereby, the

Court cannot weigh this factor on summary judgment.

                              (4)    The bounty (or legal defense fund)

      Plaintiffs argue that Defendants’ creation of a bounty to incentivize

challengers contributed to reasonable voter intimidation. Plaintiffs raise

statements made by Defendant Catherine Engelbrecht that the True the Vote


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campaign was “putting a bounty on the fraud” and going to create “an

environment for whistleblowers to come forward and . . . mak[e] sure that they

have protections, mak[e] sure that they have compensation . . . .” Doc.

No. [156-46] (True the Vote Podcast Tr.) Tr. 3:2–6.

      Defendants dispute that the funds were a bounty. Instead, Defendants

submit that it was a legal defense fund to assist any challengers who might incur

legal expenses on account of the challenges asserted (e.g., defending defamation

claims). Engelbrecht’s deposition testimony explained what she meant when she

said that there would be a “bounty on the fraud,” specifically that there would

be funds available to provide “legal support” as a means of “encourag[ing]

people who were otherwise concerned” about legal implications of challenging

voters. Doc. No. [168-1] (TTV Dep. Tr.) Tr. 74:13–15; see also Doc. No. [168-1]

(TTV Dep. Tr.) Tr. 75:7–18 (“[I]t doesn’t take too much to end up being caught

into a lawsuit . . . that has a very chilling effect. And so the thought was to try to

create an environment . . . for people to come to and know they wouldn’t be

alone.”), 76:15–19 (“We thought that creating or making it known that if people

came forward and needed some kind of legal support that we would help

support that. That was the reason that I said what I said.”). The podcast


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contextually also somewhat supports the idea that the bounty could have been a

legal defense fund, given Engelbrecht’s statement that True the Vote “will give

[whistleblowers] not only support, financial support, but legal support, and

whistleblower immunity where appropriate.” Doc. No. [156-46] (True the Vote

Podcast Tr.) Tr. 4:14–16.

         While the Court is aware of no other Section 11(b) cases with similar

conduct (i.e., setting up a financial incentive for third-parties to purportedly

threaten the rights of others to vote), the Court finds that if Defendants indeed

created a bounty for challengers, then this could reasonably intimidate voters.25

Ultimately, however, whether Engelbrecht’s explanation of the “bounty on the

fraud” statement is a truthful and effective explanation of the potentially

intimidating conduct is a credibility determination. Thus, the Court cannot weigh

this factor for purposes of summary judgment.

                                (5)    Recruitment of Navy SEALS

         Plaintiffs also allege that Defendants’ recruitment of former Navy SEALS

to watch polling places constituted intimidation. Plaintiffs cite to another podcast




25   The “bounty” determination could also affect the directness and causation elements.
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statement where Engelbrecht discussed a different True the Vote campaign

(“Continue to Serve”) which she described as “recruiting veterans and first

responders to work inside the polls.” Doc. No. [156-27] (Seal the Polls Tr.) Tr.

2:8–9. Engelbrecht explains that True the Vote encouraged the recruitment of

veterans and first responders because they were “people who understand the

respect law and order and chain of command . . . people who were unafraid to

call it like they see it all the way down the line.” Id. at 2:10–17. Plaintiffs contend

the presence of these former Navy SEALS—especially because they would be,

per Defendants’ instructions, directly engaging with voters—could reasonably

constitute voter intimidation.

      Defendants dispute the conclusion that the presence of Navy SEALS

would cause an intimidating atmosphere for voters. They maintain that these

veterans and first responders were to serve as mere poll workers. Doc. No. [168-1]

(TTV Dep. Tr.) Tr. 63:2–7 (“[T]hings can get very confusing in polling places. And

the thought was just the individuals that are . . . familiar with that kind of law of

order and chain of command and understanding process are very decisive . . . .”).

Moreover, Defendants dispute that the SEALS would be in direct contact with

voters, specifically stating that veteran’s contact would depend on the role


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assigned. Id. at 63:22–64:3 (“If they were serving in the capacity of poll watcher,

they would not engage with anyone. If they were working as a judge or a clerk,

then they may.”).

      Several other Section 11(b) cases have involved poll watchers and armed

guards. Generally, poll watchers watching or partaking in non-disruptive

activities at polling places without any (or very limited) voter contact has not

been found to be “impermissible” intimidation. Pa. Democratic Party v.

Republican Party of Pa., No. CV 16-5664, 2016 WL 6582659, at *6 (E.D. Pa. Nov. 7,

2016); see also Ariz. All., 2022 WL 15678694, at *3–5 (finding that there was no

likelihood of success on a Section 11(b) claim based on merely watching ballot

drop-off locations when, among other factors, the volunteers were directed to

follow all applicable laws and not directly engage voters); Ariz. Democratic

Party, 2016 WL 8669978, at *11 (finding no intimidation in conducting exit polls

that followed applicable laws and were non-disruptive).

      Conversely, stationing private armed guards at polling places has been

determined “certainly likely to intimidate voters.” Atlas Aegis, 497 F. Supp. 3d at

375. Further, people following closely behind Native American voters, taking




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notes and being disruptive was also found to create an intimidating and

threatening environment. Daschle, 2004 WL 3650153 *5–6.

         The Court cannot conclude that the mere presence of veterans would in

and of itself contribute to creating an intimidating or threatening environment

for voters. 26 Because, however, as presented on the summary judgment record,

the actual role of these recruited veterans is unclear, the Court finds that there is

a factual question of if Defendants’ recruitment of Navy SEALS, veterans, or

other first responders would reasonably cause a voter to feel intimidated. 27

Thereby, the Court cannot resolve these disputes on summary judgment and this

factor must be decided by a trier of fact.

                               (6)    Publication of challenged voters’ names

         Finally, the Court addresses the fact that Plaintiffs Jane Doe, Berson, and

Heredia, discovered their names had been published as challenged voters. As has




26 Being a Navy SEAL or United States veteran is an honorable distinction. The Court
agrees with Defendants that the mere fact someone is a former Navy SEAL—or other
classification of United States veteran—does not automatically make him or her
intimidating.
27 These facts implicate the directness and causation elements as well. Specifically, the
Court has yet to see any connection between the threat of recruiting veterans and
intimidation of voters in this case.
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been alleged, non-governmental parties publishing the names of challenged

voters to the public can constitute reasonable intimidation. See, e.g., Wohl,

512 F. Supp. 3d at 511 (“Indeed, the threat of dissemination of personal

information alone could plausibly support a Section 11(b) claim.”); LULAC,

2018 WL 3848404, at *1, 4 (discussing published reports of voters who had

committed felonies, which included “the names, home addresses, and telephone

numbers of the alleged felons,” in determining that plaintiffs adequately pleaded

voter intimidation).

      While there does not appear to be a dispute that Heredia, Berson, and Jane

Doe’s names were published, Defendants dispute that they published or directed

the publications of challenged voters’ names. Doc. No. [173], 6, 14. Defendants

submit the depositions of Engelbrecht, Somerville, and Davis, all three of which

testify that they did not wish, and even expressly counseled against, voters

names being published. Doc. Nos. [168-1] (TTV Dep Tr.) Tr. 257:11–14 (“Q: Has

True the Vote ever discussed or considered publishing the list of challenged

voters in Georgia? A. No.”); [166-1] (Somerville Dep. Tr. 2) Tr. 73:7–14 (“There is

no scenario under which I would have either contemplated or agreed to anything

[like publishing the names on social media], nor would have Mark. That would


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have been too inflammatory, and it would have been counter to the intent of the

effort. So, no, there’s no scenario under which we would have considered that.”);

[165-1] (Davis Dep. Tr. 2) Tr. 46:12–14 (“I don’t recall us publishing it to the

general public. I wouldn’t see any reason to do that.”), 80:4–10 (“I don’t like to

talk much about individual voters by name. I don’t think that’s a smart thing to

do. And I certainly don’t support publishing any of this analysis or putting

people on the spot, and, you know, we avoided doing that with these efforts.”).

      Plaintiffs, however, assert that Defendants had a role in publishing the

names of challenged voters. They submit a social media post made by an

organization named “Crusade for Freedom,” which states, “[i]f the Georgia

counties refuse to handle the challenges of 366,000 ineligible voters in accordance

with the law, I plan to release the entire list . . . .” Doc. No. [156-26], 2. Plaintiffs

connect Crusade for Freedom to True the Vote and Catherine Engelbrecht

through (1) the post’s hashtags (“validatethevoteGA” and “#eyesonGA”), (2) a

lack of evidence that any other group was conducting mass voter challenges in

Georgia during this time period, and (3) the similarities between Crusade for

Freedom’s logo and another organization founded by Engelbrecht and Phillips.

Doc. No. [168-1] (TTV Dep. Tr.) Tr. 264:2–16, 260:11–261:18. Defendants,


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however, maintain that there is no affiliation between True the Vote and Crusade

for Freedom, and that Engelbrecht was no longer affiliated with the other

organization at the time of True the Vote’s challenges. Id. at 261:12–14, 259:11–18,

338:17–20.

      Plaintiffs also cite conversations between Davis and Somerville, expressing

concern about being “flooded with defamation complaints” upon hearing of a

forthcoming webpage with voter data, and Davis’s “perception” that voter

challenges made “were going to be public as well.” Doc. No. [165-1] (Davis Dep.

Tr. 2) Tr. 129:6–19. Plaintiffs submit Somerville’s testimony that he and Davis

recruited volunteers to challenge voters, and that voter lists were distributed to

interested challengers via email or Dropbox with “no meaningful way to manage

other people’s activities . . . .”. Doc. No. [162-1] (Somerville Dep. Tr. 1) Tr.

98:7–99:15, 91:5–13. Plaintiffs attribute the publication of the Davis and

Somerville Banks County voter list to these recruiting efforts. Doc. No. [174-1],

85.

      There is a dispute of fact over whether the publication of voters’ names can

be attributed to Defendants. Because of these disputes and required credibility




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determinations, the Court cannot consider the publication of challenged voters’

names as a factor on summary judgment. 28

               3.    Summation: Section 11(b)

         In the above discussion, the Court has determined that factual disputes

preclude summary judgment on all three elements of the Section 11(b) claim.

Particularly, the Court has found disputes over the frivolity of the voter

challenges, Defendants’ direct action toward voters, the creation of a

whistleblower bounty (or legal defense fund), Defendants’ recruitment of Navy

SEALS to guard (or volunteer at) polling places, Defendants’ role in publishing

voter names, and others. A trier of fact must make these determinations, and thus

summary judgment for either Party must be denied on the Section 11(b) claim.

         However, the Court finds that no causal link exists between Defendants’

Section 230 challenges and the Muscogee County voters, thus summary




28 In addition to these disputed facts, the Court is also concerned about the possibility
of names being obtained from Defendants’ lists on the basis of an open records
request—a possibility that Davis expressly acknowledges. Doc. No. [165-1] (Davis Dep.
Tr. 2) Tr. 46:9–12 (“[C]ertainly members of the public could have obtained [a list of
challenged voters] from an Open Records Request from any of the counties where they
were filed.”). This possibility, Defendants’ knowledge of it, and any efforts by
Defendants to indirectly publish the challenged voters names, would all be
considerations the Court would weigh at trial.
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judgment is granted on this issue for these voters, and Plaintiffs are precluded

from arguing otherwise at trial.

      B.     Affirmative Defenses

      Defendants also raise several affirmative defenses, arguing that finding

them liable under Section 11(b) would violate their rights to free speech, rights to

petition, and rights to vote. Doc. No. [155-1], 32–35. Defendants also contend that

Section 11(b) would be unconstitutionally vague if applied against them. Id. at

36–37. Plaintiffs disagree with all of Defendants’ affirmative defenses. Doc.

No. [174], 24–29. The Government, moreover, argues as an intervenor that

Section 11(b) is not unconstitutional, on its face or as would be applied to voter

challenges in this case. Doc. No. [198-1]. The Court will address in turn:

(1) Defendants’    First   Amendment        speech   defense,    (2)   Defendants’

First Amendment petition defense, (3) Defendants’ Fourteenth Amendment vote

dilution defense, and (4) Defendants’ defense that Section 11(b) as applied in this

case would be unconstitutionally vague or overbroad.

             1.    First Amendment Speech Defense

      Defendants first argue that if Section 11(b) is applied against them, then

such application would violate their right to free speech. Doc. No. [155-1], 32–34.


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Plaintiffs respond that Defendants’ speech is not protected by the First

Amendment’s because “true threats of nonviolent or nonbodily harm and

defamation, have been carved out from constitutional protection.” Doc. No. [174],

24–25.

         The Court ordered supplemental briefing specifically on the true threat

exception applying to non-violent speech. Following this supplemental briefing,

the Court has distilled Defendants’ First Amendment speech defense into two

issues: (1) if Defendants’ conduct here constitutes expressive conduct protected

by the First Amendment, and (2) assuming Defendants’ conduct is expressive

conduct, if it constitutes a true threat or defamation excepted from

First Amendment protection. 29 Ultimately, the Court determines questions of

fact preclude summary judgment adjudication of these two issues.




29 Because the Court denies summary judgment on the issue of whether Defendants’
conduct in this case constitutes First Amendment protected speech (and alternatively, a
true threat or defamation exception to the First Amendment), the Court will not address
in this Order the less than fully briefed issue of whether Section 11(b) regulation of the
Defendants’ conduct meets the level of scrutiny required to not be a First Amendment
violation. See Doc. No. [198-1], 38–41 (Government’s discussion of scrutiny analysis).
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                    a)     Expressive conduct

      The first issue that the Court must address is whether imposing Section

11(b) liability would violate Defendants’ First Amendment speech rights. “To

determine ‘whether particular conduct possesses sufficient communicative

elements to bring the First Amendment into play,’ the two-part Johnson test asks:

(1) ‘whether [a]n intent to convey a particularized message was present,’ and

(2) whether ‘the likelihood was great that the message would be understood by

those who viewed it.’” Burns v. Town of Palm Beach, 999 F.3d 1317, 1336–37

(11th Cir. 2021) (alteration in original) (internal quotation marks omitted)

(quoting Texas v. Johnson, 491 U.S. 397, 404, (1989)).

      The Court first specifies what conduct is at issue for this defense. In

Defendants’ motion for summary judgment, they initially only mention their

Section 230 challenges as protected First Amendment speech. Doc. No. [155-1],

30–31. Later, in the true threat discussion, Defendants broadly allude to the other

alleged intimidating acts being protected. Id. at 33 (arguing the true threat

exception did not apply because the voters challenged were not the direct

recipients of Defendants’ actions). In the additional briefing, moreover, other

alleged acts of intimidation have been generally raised in relation to the


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First Amendment speech defense. See, e.g., Doc. No. [198-1], 37 (listing as

intimidating conduct “lodging voter challenges in an intimidating, threatening,

or coercive manner; submitting false voter challenges; or combining voter

challenges with other intimidating, threatening, or coercive conduct.”). Thus, for

purposes of assessing the First Amendment defense raised (and the exceptions

to that defense), the Court will assess the totality of Defendants’ conduct at issue

in the Section 11(b) claim to determine if it implicates the First Amendment. 30

         “Constitutional protection for freedom of speech ‘does not end at the

spoken or written word.’” Fort Lauderdale Food Not Bombs v. City of Fort

Lauderdale, 901 F.3d 1235, 1240 (11th Cir. 2018) (quoting Johnson, 491 U.S. at

404). The Eleventh Circuit articulates the requirements for expressive conduct to

be protected by the First Amendment: (1) the communicator intended “to convey

a particularized message” and (2) a “great” “likelihood” that others would

understand a message was being communicated. Burns, 999 F.3d at 1336 (quoting



30 The Court will assess Defendants’ conduct in the aggregate to determine if it is
First Amendment protected. While the Court is unaware of any legal rule explicitly
endorsing aggregate treatment, other cases involving numerous distinct acts have
treated all acts together to determine if the conduct is First Amendment protected. Cf.,
e.g., Fort Lauderdale, 901 F.3d at 1242–43 (discussing multiple “food sharing” events
and different communicative conduct present in the events, such as inviting the public
and distributing pamphlets, setting up tables, and having banners).
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Johnson, 491 U.S. at 404). This second determination, however, does not require

that viewers perceive the specific message intended, but rather only that a

message was being communicated. See id. 1336–37.

                               (1)   Intent to communicate a message

      In the most recent Eleventh Circuit cases, the first requirement for

expressive conduct has not been at issue because it has either been stipulated to

or it was obvious that the speaker intended to communicate a message. See, e.g.,

id. at 1337 (“Palm Beach [the opposing party] conceded to the magistrate judge,

and does not dispute on appeal, that Burns had the intent to convey a message.”);

Fort Lauderdale, 901 F.3d at 1240 (“[W]e have no doubt that FLFNB intended to

convey a certain message.”).

      While not presented with a clear stipulation, the Court concludes that

Defendants intended to communicate a particularized message—even if the

factual disputes inhibit determining what that intended message was. From the

Plaintiffs’ perspective, Defendants intended their conduct to communicate a

threat to all voters. By Defendants’ account, they intended to communicate to

ineligible voters that they should not be voting and to the wider public that

elections were free from ineligible voters casting ballots. Either way, Defendants’


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conduct at issue sufficiently communicated a particularized message for the

Court to hold dismissal of their First Amendment defense on summary judgment

is not appropriate on the first element of the expressive conduct analysis.

                              (2)    Perception    that   a   message    was    being

                                     communicated

      The second requirement to find expressive conduct—that there is a great

likelihood of viewers’ perceiving a message was being communicated by

Defendants’ conduct—has received much more recent attention. “Expressive

conduct has a ‘communicative’ element, but only insofar as it, ‘in context, would

reasonably be understood by the viewer to be communicative.’” Burns, 999 F.3d

at 1337 (quoting Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 294

(1984)). In general, “[t]he ‘circumstances surrounding an event’ help a reasonable

observer discern the dividing line between expressive conduct and everyday

conduct.” Burns, 999 F.3d at 1343 (quoting Fort Lauderdale, 901 F.3d at 1241).

      The Eleventh Circuit has identified five factors to consider in this analysis:

(1) if the conduct at issue is distinguishable from actions in everyday life, such as

“set[ting] up tables and [a] banner, and distribut[ing] literature,” (2) if the public

had access to the conduct, (3) the location of the acts, such as in a public city park


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or other traditional public forum, (4) if the conduct involved “an issue of concern

in the community,” and (5) if the conduct historically has been a type that

communicates a message. Id. at 1343–44 (quoting and citing Fort Lauderdale,

901 F.3d at 1242–43). However, “[t]here may be other factors . . . relevant to

whether    [specific   conduct]    is   expressive   conduct    protected    by   the

First Amendment.” Id. at 1346. Again, “[t]he circumstances surrounding an event

often help set the dividing line between activity that is sufficiently expressive and

similar activity that is not.” Fort Lauderdale, 901 F.3d at 1241.

      Expressive conduct is not protected by the First Amendment, moreover,

when the conduct’s message is provided by other speech. In other words, when

the “[t]he expressive component of [an action] is not created by the conduct itself

but by the speech that accompanies it.” Rumsfeld v. F. for Acad. & Institutional

Rts., Inc., 547 U.S. 47, 66 (2006). This limitation is informed by the fear that “[i]f

combining speech and conduct were enough to create expressive conduct, a

regulated party could always transform conduct into ‘speech’ simply by talking

about it.” Id. The Government specifically relies on this limitation in its argument

that Defendants’ conduct in this case is not First Amendment protected

expressive conduct. Doc. No. [198-1], 32 n. 10.


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      Here, “the circumstances surrounding” Defendants’ conduct present

numerous clear disputes of fact that preclude summary judgment determination

of whether the public would have viewed Defendants’ conduct as

communicating a message. Among other determinations, a trier of fact’s

conclusions on Defendants’ direct engagement with voters, role in publishing the

challenged voters’ names to the public, and connection to Crusade for Freedom’s

social media posts would impact the decision regarding if an observer would

perceive a message to be communicated. As already indicated, however, these

are   disputed     facts      that   prohibit   summary   judgment.   See   supra

Section (III)(A)(2)(a)–(c).

      In short, the Court cannot grant summary judgment on the issue of

whether Defendants’ conduct in this case constitutes expressive conduct

protected by the First Amendment. While certainly a threshold issue for the

affirmative defense, there are material disputes of fact precluding summary

judgment resolution. Thus, the Court denies summary judgment on the

First Amendment speech defense for both Parties.




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                    b)     True threats and defamation

      The Court alternatively denies summary judgment on Defendants’

First Amendment defense because issues of fact also inhibit determining if

Defendants’ conduct constituted a true threat or defamation unprotected by the

First Amendment. For purposes of this section, the Court will assume Defendants

engaged in First Amendment protected expressive conduct, and assess if

Defendants’ conduct is exempted from the First Amendment. United States v.

Fleury, 20 F.4th 1353, 1365 (11th Cir. 2021) (discussing “well-defined and

narrowly limited classes of speech” for which “content-based restrictions are

permitted,” including defamation and true threats).

      The Supreme Court has said that true threats “encompass those statements

where the speaker means to communicate a serious expression of an intent to

commit an act of unlawful violence to a particular individual or group of

individual.” Virginia v. Black, 538 U.S. 343, 359 (2003). There need not be any

intent to act on the threat, however. Id. at 360 (“[A] prohibition on true threats

‘protects individuals from the fear of violence’ and ‘from the disruption that fear

engenders,’ in addition to protecting people ‘from the possibility that the

threatened violence will occur.’” (alteration adopted) (emphasis added) (quoting


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R.A.V. v. City of St. Paul, 505 U.S. 377, 388 (1992) In the context of cross-burning,

which placed the victim “in fear of bodily harm or death,” the Supreme Court

articulated that “[i]ntimidation in the constitutionally proscribable sense of the

word is a type of true threat . . . .” Id. at 359.

       Nevertheless, there is still an open question of whether non-violent

intimidation can be a true threat. Compare Aubin v. Columbia Cas. Co.,

272 F. Supp. 3d 828, 834 (M.D. La. 2017) (“Threatening to take non-violent action

does not constitute a ‘true threat.’”) and Seals v. McBee, No. CV 16-14837,

2017 WL 3252673, at *4 (E.D. La. July 31, 2017), aff’d, 898 F.3d 587 (5th Cir. 2018),

as revised (Aug. 9, 2018) (“Threats to take lawful, non-violent action are not ‘true

threats’ or any other category of speech that has not historically been protected

by the First Amendment.”) with Wohl, 498 F. Supp. 3d at 479 (“This Court does

not interpret the Supreme Court’s analysis in Black to suggest that the

government can ban only threats of physical harm. The threat of severe

nonbodily harm can engender as much fear and disruption as the threat of

violence.”).

       A further complication is that many of the cases invoking the true threat

exception to the First Amendment involve criminalized acts or threats, which


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almost necessarily require some form of harmful or violent threat. See, e.g.,

Fleury, 20 F.4th at 1361 (discussing the constitutional challenges and true threat

exception to a criminal prosecution under 18 U.S.C. § 2261A(2)(B), which requires

“the intent to kill, injure, harass, intimidate, or place under surveillance with

intent to kill, injure, harass, or intimidate another person”); United States v.

Castillo, 564 F. App’x 500, 501 (11th Cir. 2014) (prosecuting the criminal

defendant under 18 U.S.C. § 871(a) for “making a threat to injure or kill the

President of the United States”). Given the caselaw’s largely criminal context, the

Court declines to read precedent as implicitly limiting true threats to violent

conduct or threats.

      Neither has the Eleventh Circuit issued clear guidance on whether

non-violent conduct can constitute a true threat outside the protection of the

First Amendment. Indeed, a few cases suggest a more expansive application of

the true threat exception—one that would be inclusive of non-violent threats. In

United States v. Tapanes, 284 F. App’x 617, 620 (11th Cir. 2008), the

Eleventh Circuit concluded that an obscene hand gesture during a sentencing

was not protected by the First Amendment because it was a true threat. While

certainly in the context of a criminal sentencing this gesture is threatening, it is


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not “violent” in the traditional sense of threatening imminent physical harm. In

Everett v. Cobb Cty., 823 F. App’x 888, 892 (11th Cir. 2020), the Eleventh Circuit

held that a speaker’s “obscene communications intended to harass and frighten

the recipient” were not covered by the First Amendment. 31 (alteration adopted).

Again, while not perfect examples or clear rules of law endorsing non-violent

true threats, these cases at least suggest that non-violent expressive conduct or

speech may fall outside First Amendment protections as true threats.

         Moreover, the Southern District of New York’s treatment of Black did not

read the Supreme Court “to suggest that the government can ban only threats of

physical harm.” Wohl, 498 F. Supp. 3d at 479. It persuasively reasoned that the

Supreme Court used the language “encompass[ed]” when describing “unlawful

violence” as a manifestation of true threats, and thus did not make any ruling on

whether “only threats of unlawful violence are true threats.” Id. (emphasis




31  Admittedly, the speech involved in Everett was more aggressive and verged on
physical threats, though the Court sees no indication in the facts described that Everett
ever actually threatened physical violence. 823 F. App’x at 892 (discussing the relevant
facts as “(1) demand[ing] an apology using threatening language; (2) warn[ing] that she
planned to visit [the victim’s] place of work because she ‘needed to see [her] cry’;
(3) repeatedly describ[ing] the [basis for the threats, which was a sexual affair between
her husband and the victim] in detail; (4) threaten[ing] to upend [the victim’s] personal
and professional life; and (5) follow[ing] through on that threat”).
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added) (quoting Black, 538 U.S. at 359). The Wohl court further analyzed that a

“threat of severe nonbodily harm can engender as much fear and disruption as

the threat of violence.” Id.

      The Court agrees. Threats of nonviolent harm may be exempted from First

Amendment’s speech protections as true threats. Cf. Black, 538 U.S. at 360

(“Intimidation in the constitutionally proscribable sense of the word is a type of

true threat.”). This conclusion is reinforced by the context in this case where the

alleged intimidation would potentially interfere with another’s constitutionally

and statutorily protected right to vote free of such intimidation.

      Thus, the question becomes whether Defendants’ actions in this case

constituted true threats outside First Amendment protection. Plaintiffs’ account

of Defendants’ conduct, if factually supported, could be intimidation, that is “a

serious expression of an intent to commit an act of unlawful [non-]violence”

against voters. Id. at 359. Outstanding disputes of fact (i.e., the publication of

voters’ names, use of Navy SEALS, etc.) however must be resolved before the

Court can make a final determination. Summary judgment is thereby inapposite.

      Plaintiffs also raise a defamation exception to Defendants’ speech being

protected. The voter challenges and the publication of the challenged voters’


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names might be defamation of the challenged voters’ reputations by falsely

suggesting that these voters are attempting to vote unlawfully. 32 As discussed in

the Section 11(b) analysis supra, however, these facts are disputed. Thus, the

Court also denies summary judgment on the defamation exception to

Defendants’ First Amendment affirmative defense.

               2.    First Amendment Petition

         Defendants next raise a First Amendment petition defense to Section 11(b)

liability. Doc. No. [155-1], 34. The right to petition is constitutionally guaranteed,

but not absolute. Cf. Borough of Duryea v. Guarnieri, 564 U.S. 379, 386 (2011).

         Generally, “the Petition Clause protects people’s rights to make their

wishes and interests known to government representatives in the legislature,

judiciary, and executive branches.” Biddulph v. Mortham, 89 F.3d 1491, 1496

(11th Cir. 1996). “Interpretation of the Petition Clause must be guided by the

objectives and aspirations that underlie the right. A petition conveys the special




32 The Court has grappled with the implications of Plaintiffs’ failure to specifically raise
a defamation claim. The Court has treated defamation as an exception to the
First Amendment, regardless of whether a claim of defamation has been brought,
because defamation is commonly listed as a First Amendment exception without any
qualification that a separate defamation claim must be brought to invoke the exception.
See, e.g., Fleury, 20 F.4th at 1365.
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concerns of its author to the government and, in its usual form, requests action

by the government to address those concerns.” Guarnieri, 564 U.S. at 388–89.

“The right to petition is in some sense the source of other fundamental rights, for

petitions have provided a vital means for citizens to request recognition of new

rights and to assert existing rights against the sovereign.” Id. at 397.

         The Court does not doubt that Defendants’ Section 230 voter challenges

are petitions. In these challenges, Defendants are “mak[ing] their wishes and

interests known to government representatives . . . .” Biddulph, 89 F.3d at 1496.

On the summary judgment record, however, Defendants’ other conduct involved

in the Section 11(b) intimidation inquiry would not be protected by the

Petition Clause because it is not activity directed at a governmental entity. 33

Accordingly, the Court will only assess the First Amendment petition defense in

the light of Defendants’ voter challenges.




33  While the Court will not address Defendants’ other actions in this Order, if the
evidence of other petitions is presented at trial, then the Court will consider it for this
affirmative defense.
       The Court also encourages the Parties to address at trial how the
First Amendment petition defense applies to the out-of-state Defendants, True the Vote
and Catherine Engelbrecht, in the light of the fact that only Georgia residents may
institute a Section 230 challenge. See O.C.G.A. § 21-2-230(a) (“Any elector of the county
or municipality may challenge the right of any other elector . . . to vote in an election.”).
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      The primary argument made against the First Amendment petition

defense is that Defendants’ voter challenges were frivolous and thus cannot be

protected by the Petition Clause. Doc. Nos. [174], 25–26; [193], 39–41. In

supplemental briefing, the Court inquired into the standard to apply to

determine a “frivolous” petition outside First Amendment protection. Plaintiffs

did not propose any specific test in their briefing, but instead reiterated that “[t]he

First Amendment does not license baseless, frivolous challenges targeted at

eligible voters; at most, it provides a buffer against liability for mistaken

allegations made in good faith.” Doc. No. [193], 39. At the summary judgment

hearing, however, Plaintiffs specified that a frivolous challenge would be one that

lacked probable cause—i.e., when the board of registrars did not act on a

challenge. Doc. No. [210] (Feb. 1 Hearing Tr.) Tr. 13:24–14:3.

      Defendants argued that a frivolous petition was one without any basis in

law or fact. Doc. No. [191], 28–32. Drawing on the antitrust context specifically,

Defendants contend the Court should ask if the challenge was “objectively

baseless in the sense that no reasonable litigant could realistically expect success

on the merits” and then, if objectively unreasonable, if the challenger has a




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“reasonable belief that there is a chance that a claim may be held valid upon

adjudication.” Id. at 30–31 (quoting Pro. Real Est. Inv’rs, 508 U.S. at 60).

         The Government argues that the right to petition should not and cannot

protect “illegal and reprehensive practice[s].” 34 Doc. No. [198-1], 43 (quoting Cal.

Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 513 (1972)). Moreover,

the Government encouraged the Court to “consider the degree to which a

challenged restriction impairs the core right the [Petition] Clause affords” and

any reasonable limits on the right in the face of the governmental interests in the

regulation. Doc. No. [198-1], 44–45.

         Taking a cue from other contexts where petition rights are at issue, the

Court agrees in part with Defendants (and seemingly the Government) that there

must be more than a lack of probable cause for voter challenge petitions to be

frivolous, i.e., outside First Amendment protection. Again, a county’s treatment

of a Section 230 challenge cannot be the sole basis for finding a challenge was




34 The Court is unconvinced by the Government’s position that the speech analysis can
resolve the petition defense in this case. Doc. No. [198-1], 42–43. While the Court agrees
that it would be unlikely to find unprotected speech (i.e., a true threat or defamation) to
be protected by the Petition Clause, conduct constituting a petition is further subject to
a frivolity limitation. Thus, at the least, the Petition Clause defense requires a separate
frivolity analysis.
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frivolous, unprotected by the First Amendment, and potentially creating liability

under Section 11(b). See supra Section (III)(A)(2)(c)(2)(a).

      The Court furthermore is persuaded by the comparisons made between

Defendants’ Section 230 voter challenges and cases involving baseless litigation.

As the Supreme Court noted in the public employment context, “[w]hen a

petition takes the form of a lawsuit against the government employer, it may be

particularly disruptive. Unlike speech of other sorts, a lawsuit demands a

response.” Guarnieri, 564 U.S. at 390. The Court went on, drawing on non-public

employment situations, and noted that the First Amendment petition right did

“not protect ‘objectively baseless’ litigation that seeks to ‘interfere directly with

the business relationships of a competitor.’” Id. (quoting Real Est. Inv’rs, 508 U.S.

at 60–61). Thus, in these latter cases, it appears that a “baseless” claim is one that

is “objectively baseless” and “interfere[s] directly” with another person, namely

(but perhaps not exclusively) through “consum[ing] time and resources” by

“demand[ing] a response.” Guarnieri, 564 U.S. at 390.

      Here, the voter challenges demanded a response from the board of

registrars in each county where challenges were made. These challenges thus

compelled at least some action and started a process that might have required a


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challenged voter to prove his or her voter eligibility. However, Defendants’

Section 230 challenges are disputed as it relates to objective reasonableness,

directness, and causation. See supra Section (III)(A)(2)(a)–(c). These disputes

therefore preclude summary judgment on Defendants’ First Amendment

petition defense for either Party.

               3.    Right to Vote via Vote Dilution

         Defendants’ next raise the “right to vote via vote dilution” as a defense to

Section 11(b) liability. Defendants first argued their activities were protected

because they sought to “prevent vote dilution by ensuring that all the people

listed as eligible voters were legally eligible to cast votes.” Doc. No. [155-1], 35.

Later, they articulated the protection as “preventing the dilution of their own

voting power by the counting of unlawful ballots.” Doc. No. [193], 41.

         The Court will not linger on this amorphous defense. Even after additional

briefing, the Court still is unsure about the legal basis for Defendants’ argument,

or if the law even supports vote dilution being raised as an affirmative defense.35




35 Vote dilution ordinarily arises as a statutory claim under the Voting Rights Act
Section 2, or as an Equal Protection Claim under the Fourteenth Amendment. Here,
Defendants raise a constitutional defense, and thus the Fourteenth Amendment vote
dilution law must apply.
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Nonetheless, even assuming that vote dilution can be raised as a defense,

Defendants have not met the high evidentiary requirements of proving vote

dilution. Accordingly, summary judgment must be granted for Plaintiffs.

      When asserting vote dilution under the Fourteenth Amendment,

Defendants must prove not only the requirements of a Voting Rights Act

Section 2 vote dilution case but must also show discriminatory intent. Johnson v.

DeSoto Cty. Bd. of Comm’rs, 204 F.3d 1335, 1344 (11th Cir. 2000) (“[T]he Supreme

Court, historically, has articulated the same general standard, governing the

proof of injury, in both section 2 and constitutional vote dilution case . . . .”);

Lowery v. Deal, 850 F. Supp. 2d 1326, 1331 (N.D. Ga. 2012) (“[T]he primary

difference between vote-dilution claims brought under § 2 and similar claims

brought under the Equal Protection Clause is that the Equal Protection Clause

requires a showing of discriminatory intent, while § 2 does not . . . the

requirements to establish that vote dilution has occurred (separate from any

discriminatory intent) are the same under both provisions.”).

      Thus, for Defendants to successfully assert a vote dilution defense they

must show: “(1) that the minority group is ‘sufficiently large and geographically

compact to constitute a majority in a single-member district;’ (2) that the minority


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group is ‘politically cohesive;’ and (3) that sufficient racial bloc voting exists such

that the white majority usually defeats the minority’s preferred candidate.”

Wright v. Sumter Cty. Bd. of Elections & Registration, 979 F.3d 1282, 1288

(11th Cir. 2020) (quoting Solomon v. Liberty Cty. Comm’rs, 221 F.3d 1218, 1225

(11th Cir. 2000)). After these proofs, the Court then must assess a totality of the

circumstances “to determine whether members of a racial group have less

opportunity” than other groups. Id. at 1289 (listing factors).

      Again, assuming that a constitutional vote dilution claim is legally

available, Defendants have not made any effort to argue or prove these

requirements. Nor have Defendants shown that Plaintiffs intended to deprive

them of their right to vote for a constitutional vote dilution defense (in fact,

Plaintiffs’ claim the opposite—that Defendants’ actions sought to deprive voters

of the right to vote). Thus, as the proponent of the affirmative defense,

Defendants have not submitted the required proofs to even create a dispute of

fact. Consequently, Plaintiffs are entitled to summary judgment on Defendants’

vote dilution defense.




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             4.    Unconstitutional Vagueness

      Finally, Defendants assert that Section 11(b), if applied to their Section 230

voter challenges, would be unconstitutionally vague because such liability would

be based on a “mass” Section 230 challenge, and it is unclear what would

constitute a “mass” challenge moving forward. Doc. No. [155-1], 36. Defendants

contend that this uncertainty would “chill” the exercise of the First Amendment

rights. Id. Plaintiffs disagree and argue that Defendants improperly limit the

Section 11(b) issue to be the mass challenges when Plaintiffs’ “problems with

Defendants’ challenges go well beyond quantity.” Doc. No. [174], 28. The

Government echoes Plaintiffs’ submission that “[a] wide range of factual

evidence therefore could establish a Section 11(b) violation . . . But ‘the mere fact

that close cases can be envisioned’ is insufficient to ‘render[] a statute vague.’”

Doc. No. [198-1], 48 (alteration in original) (quoting United States v. Williams,

553 U.S. 285, 305–06 (2008)).

      No disputes of fact affect the Court’s determination on this Due Process

defense, and the Court dismisses the defense because Section 11(b), if applied to

Defendants, is not unconstitutionally vague or overbroad. “Unconstitutionally

vague laws fail to provide fair warning of what the law requires, and they


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encourage arbitrary and discriminatory enforcement by giving government

officials the sole ability to interpret the scope of the law.” Dream Defs. v.

Governor of the State of Fla., 57 F.4th 879, 890 (11th Cir. 2023) (internal quotations

omitted) (quoting Keister v. Bell, 29 F.4th 1239, 1258 (11th Cir. 2022)). While there

is a heightened concern in cases implicating the First Amendment of a vague

statute, the Court finds that Section 11(b) presents no such concern of

unconstitutional    vagueness.    Section    11(b)   uses   terms   often   used   in

statutes—intimidate, threaten, and coerce. United States v. Eckhardt, 466 F.3d

938, 944 (11th Cir. 2006) (discussing the terms “intimidate” and “harass” as not

unconstitutionally vague). If “the meaning of the words used to describe the

[impermissible] conduct can be ascertained fairly by reference to judicial

decisions, common law, dictionaries, and the words themselves because they

possess a common and generally accepted meaning” then there is no vagueness

concern. Id. While the facts of every voter intimidation case may vary, the terms

and standards governing liability do not rise to the level of being

unconstitutionally vague.

      Neither is Section 11(b) overbroad. “A statute is overly broad if it ‘punishes

a substantial amount of protected free speech, judged in relation to the statute’s


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plainly legitimate sweep.’” Dream Defs., 57 F.4th at 890–91 (quoting Virginia v.

Hicks, 539 U.S. 113, 118–19 (2003)). Again, any totality of the circumstances

inquiry is fact and context specific, but the terms that inform Section 11(b) liability

are well known in caselaw and statute, thus inherently limit the potential for

making a “sweep” of otherwise lawful and protected conduct, unlawful. Thus,

Section 11(b) is not overbroad. Summary judgment for Plaintiffs is granted on

Defendants’ Due Process defense.

IV.   CONCLUSION

      For the foregoing reasons, the Court GRANTS IN PART and DENIES IN

PART both Plaintiffs’ and Defendants’ Motions for Summary Judgment (Doc.

Nos. [155-1]; [156-1]). The Court GRANTS Plaintiffs’ summary judgment on

Defendants’ vote dilution and unconstitutional vagueness defenses. The Court

GRANTS Defendants’ summary judgment on the narrow issue of Section 11(b)

liability for Muscogee County voters as it pertains to the Section 230 voter

challenges only—the undisputed facts show there is no causation evidence

between the voter challenges in Muscogee County and Defendants. On all other

issues raised by both Parties, the Court DENIES summary judgment. Pursuant




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